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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF MINNESOTA

 In re:

 Diocese of Duluth,                                    Case No. 15-50792

                                Debtor.                Chapter 11


     SECOND MODIFIED JOINT CHAPTER 11 PLAN OF REORGANIZATION OF THE
                          DIOCESE OF DULUTH


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 Dated: August 26, 2019




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                                       INTRODUCTION

        The Official Committee of Unsecured Creditors and the Diocese of Duluth, the debtor and
debtor in possession in the above-captioned Chapter 11 case, propose this Joint Chapter 11 Plan
of Reorganization (the “Plan”) pursuant to the provisions of the Bankruptcy Code.

        All creditors are encouraged to consult the disclosure statement for the Chapter 11 Plan of
Reorganization (the “Disclosure Statement”), before voting to accept or reject this Plan. Among
other information, the Disclosure Statement contains discussions of the Diocese of Duluth, events
prior to and during this Chapter 11 case, and a summary and analysis of the Plan. No solicitation
materials, other than the Disclosure Statement, have been authorized by the Bankruptcy Court for
use in soliciting acceptances or rejections of the Plan.




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                                           ARTICLE I
                                DEFINITIONS AND INTERPRETATION

        1.1      DEFINED TERMS. For the purposes of the Plan, except as expressly provided,
all capitalized terms not otherwise defined herein have the meanings ascribed to them below:

                  1.       “Abuse” means (i) any actual or alleged sexual conduct, misconduct, abuse,
                           or molestation, including actual or alleged “sexual abuse” as that phrase is
                           defined in Minnesota Statutes Section 541.073(1); (ii) indecent assault or
                           battery, rape, lascivious behavior, undue familiarity, pedophilia,
                           ephebophilia, or sexually-related physical, psychological, or emotional
                           harm; (iii) contacts or interactions of a sexual nature; or (iv) assault, battery,
                           corporal punishment, or other act of physical, psychological, or emotional
                           abuse, humiliation, intimidation, or misconduct.

                  2.       “Administrative Claim” means a Claim for costs and expenses of
                           administration that is allowable and entitled to priority under Sections 503,
                           507(a)(2), or 507(b) of the Bankruptcy Code, including any post-petition
                           tax Claims, any actual and necessary expenses of preserving the Estate, any
                           actual and necessary expenses of operating the business of the Debtor, all
                           Professional Claims, and any fees or charges assessed against the Estate
                           under 28 U.S.C. § 1930.

                  3.       “Allowed Professional Claim” means a Professional Claim for which the
                           Bankruptcy Court has entered an Order, which has become a Non-
                           Appealable Order allowing the relevant Fee Application.

                  4.       “Approval Order” means an order of the Bankruptcy Court approving one
                           or more Insurance Settlement Agreement.

                  5.       “Assets” of the Diocese or the Estate means, collectively, any and all
                           property of the Diocese or the Estate, respectively, of every kind and
                           character, wherever located, whether real or personal, tangible or intangible,
                           and specifically including cash (including the residual balance of any
                           reserves established under the Plan, but not the Trust) and Causes of Action.

                  6.       “Ballot” means the ballot, the form of which has been approved by the
                           Bankruptcy Court, accompanying the disclosure statement provided to each
                           holder of a Claim entitled to vote to accept or reject the Plan.

                  7.       “Bankruptcy Code” means the Bankruptcy Reform Act of 1978, as amended
                           and codified in Title 11 of the United States Code.

                  8.       “Bankruptcy Court” means the United States Bankruptcy Court for the
                           District of Minnesota.

                  9.       “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as
                           currently promulgated.

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                  10.      “Beneficiary” means a Class 3 Claimant whose Claim is not disallowed by
                           the Bankruptcy Court and whose Claims are payable under the Trust
                           Distribution Plan.

                  11.      “Canon Law” means the Code of Canon Law of the Roman Catholic
                           Church, as codified in 1983 and as may hereafter be amended, and all
                           binding universal and particular laws of the Roman Catholic Church.

                  12.      “Catholic Entities” means the Diocesan Parishes and those Persons listed
                           on Exhibit M.

                  13.      “Catholic Mutual” means Catholic Mutual Relief Society of America.

                  14.      “Cause of Action” or “Causes of Action” means, except as provided
                           otherwise in the Plan, the Confirmation Order, or any document, instrument,
                           release, or other agreement entered into in connection with the Plan, all
                           Claims, actions, causes of action, suits, debts, dues, sums of money,
                           accounts, reckonings, bonds, bills, specialties, controversies, variances,
                           trespasses, damages, judgments, third-party Claims, counterclaims, and
                           cross claims of the Diocese or its Estate, the Committees, or the Trust (as
                           successor to the Diocese or its Estate), including an action that is or may be
                           pending on the Effective Date or instituted by the Reorganized Debtor after
                           the Effective Date against any Person based on law or equity, including
                           under the Bankruptcy Code, whether direct, indirect, derivative, or
                           otherwise and whether asserted or unasserted, known or unknown, any
                           action brought pursuant to Sections 522, 541–45, 547–51, and 553 of the
                           Bankruptcy Code; provided, however, that any affirmative defense or cross-
                           claim asserted with respect to a Claim shall not be deemed a Cause of Action
                           to the extent that it seeks to disallow or reduce, or is offset against, such
                           Claim.

                  15.      “Channeled Claim(s)” means any Tort Claim, Related Insurance Claim,
                           Medicare Claim, Extra-Contractual Claim, or other Claim against any of the
                           Protected Parties, the Settling Insurer Entities or any Person qualifying as
                           an insured under any Settling Insurer Entity Policy to the extent such Claim
                           arises from the same injury or damages asserted as a Tort Claim against the
                           Protected Parties or Settling Insurer Entities, that directly or indirectly arises
                           out of, relates to, or is in connection with such Tort Claim, Related Insurance
                           Claim, Medicare Claim, Extra-Contractual Claim, or other Claim covered
                           by the Channeling Injunction and Supplemental Settling Insurer Injunction
                           in Articles VII and XIII; provided, however, that Channeled Claims shall
                           not include any rights of a holder of a Class 4 Claim or Class 6B Claim
                           against the Reorganized Debtor, nor any Claim against (i) an individual who
                           perpetrated an act of Abuse that forms the basis of a Tort Claim with respect
                           to that Tort Claim; or (ii) any religious order, diocese or archdiocese (other
                           than the Diocese itself).



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                  16.      “Channeling Injunction” means the injunction imposed pursuant to Section
                           13.3 of the Plan.

                  17.      “Child Protection Protocols” means the document entitled “Child Protection
                           Protocols” and the related “Appendix A” included as Exhibits K and K(1).

                  18.      “Claim” means any past, present or future Claim, demand, action, request,
                           cause of action, suit, proceeding or liability of any kind or nature
                           whatsoever, whether at law or equity, known or unknown, actual or alleged,
                           asserted or not asserted, suspected or not suspected, anticipated or
                           unanticipated, accrued or not accrued, fixed or contingent, which has been
                           or may be asserted by or on behalf of any Person, whether seeking damages
                           (including compensatory, punitive or exemplary damages) or equitable,
                           mandatory, injunctive, or any other type of relief, including cross-claims,
                           counterclaims, third-party Claims, suits, lawsuits, administrative
                           proceedings, notices of liability or potential liability, arbitrations, actions,
                           rights, causes of action or orders, and any other Claim within the definition
                           of “Claim” in Section 101(5) of the Bankruptcy Code.

                  19.      “Claims Filing Date” means May 25, 2016.

                  20.      “Confirmation Date” means the date on which the Bankruptcy Court enters
                           the Confirmation Order.

                  21.      “Confirmation Order” means the order entered by the Bankruptcy Court
                           confirming the Plan pursuant to Section 1129 of the Bankruptcy Code which
                           becomes a Non-Appealable Order.

                  22.      “Covered Non-Tort Claim” means any Claim, other than Tort Claims,
                           Related Insurance Claims, or Medicare Claims, for which the Diocese, a
                           Catholic Entity or Other Insured Entity would otherwise have coverage
                           under a Settling Insurer Entity Policy but as a result of the sale, transfer, or
                           release by the Debtor, Catholic Entity, or Other Insured Entity of such
                           Settling Insurer Entity Policy in connection with an Insurance Settlement
                           Agreement, the Diocese, Catholic Entity, or Other Insured Entity does not
                           have insurance coverage for such Claim(s).

                  23.      “Diocesan Insurance Policy(ies)” means a) all policies or certificates of
                           insurance listed on Exhibit I; and b) any and all other known and unknown
                           contracts, binders, certificates, or policies of insurance, including all of the
                           insurance policies mentioned or referred to in any Diocese Insurance
                           Settlement Agreement, in effect on or before the Effective Date that were
                           issued to, allegedly issued to, or for the benefit of, or that otherwise actually,
                           allegedly, or potentially insure, the Diocese or any of its predecessors in
                           interest, successors, or assigns, and that actually, allegedly, or could
                           potentially afford coverage with respect to any Tort Claim; provided,
                           however, that if a contract, binder, certificate, or policy of insurance that is


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                           not identified on either Exhibit I and was not issued to or allegedly issued
                           to the Diocese insures or covers both the Diocese and any other Person, such
                           contract, binder, certificate, or policy of insurance, as applicable, is a
                           “Diocesan Insurance Policy” to the extent it insures or covers the Diocese
                           but not to the extent it insures or covers any other Person. With respect to
                           the certificates issued by Catholic Mutual, the “Diocesan Insurance
                           Policies” means the certificates issued by Catholic Mutual to the Diocese or
                           the Other Insured Entities listed on Exhibit I to the extent coverages under
                           such certificates are released by the Diocese Insurance Settlement
                           Agreement between Catholic Mutual and the Diocese.

                  24.      “Diocesan Parishes” means all past and present parishes of or in the Diocese
                           and includes all the parishes identified on Exhibit H.

                  25.       “Diocesan Settling Insurer Entities” means the Diocesan Settling Insurers
                           and each of their past, present and future parents, subsidiaries, affiliates,
                           divisions, reinsurers, and retrocessionaires, including Persons released
                           pursuant to the Insurance Settlement Agreements; each of the foregoing
                           Persons’ respective past, present and future parents, subsidiaries, affiliates,
                           holding companies, merged companies, related companies, divisions and
                           acquired companies, including the Persons released pursuant to the
                           respective Insurance Settlement Agreements; each of the foregoing Persons’
                           respective past, present and future directors, officers, shareholders,
                           employees, subrogees, partners, principals, agents, attorneys, joint ventures,
                           joint venturers, representatives, and Claims handling administrators; and
                           each of the foregoing Persons’ respective predecessors, successors,
                           assignors, and assigns, whether known or unknown, and all Persons acting
                           on behalf of, by, through or in concert with them.

                  26.      “Diocesan Settling Insurer Entity Policies” means any and all Diocesan
                           Insurance Policies issued or allegedly issued by a Diocesan Settling Insurer
                           Entity.

                  27.      “Diocesan Settling Insurers” means the Persons listed on Exhibit I whose
                           Insurance Settlement Agreements are approved by the Approval Orders and
                           such orders become Non-Appealable Orders.

                  28.      “Diocese” and “Diocesan” refers to the Diocese of Duluth, which is the
                           diocesan corporation formed pursuant to Minnesota Statutes Section 315.16
                           that is the public juridic person of the Roman Catholic Diocese of Duluth,
                           as now constituted or as it may have been constituted, and the Estate
                           (pursuant to Section 541 of the Bankruptcy Code).

                  29.      “Diocese Entity Insurance Policies” mean the insurance policies that are
                           listed on Exhibit I.




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                  30.      “Diocese Insurance Settlement Agreements” means the settlement
                           agreements between the Diocese and/or the Diocese Parties and the
                           Diocesan Settling Insurers, which are included as Exhibits D through H to
                           the Disclosure Statement.

                  31.      “Diocese Parties” means collectively the Diocese and, in their capacity as
                           such: (i) each of the past, present, and future parents, subsidiaries, merged
                           companies, divisions, and acquired companies of the Diocese; (ii) any and
                           all named insureds, insureds, additional insureds, covered party, additional
                           Covered Party(ies), and Protected Person(s) (as such terms are defined in
                           the certificates issued by Catholic Mutual or in the applicable Diocesan
                           Settling Insurer Entity Policy); (iii) each of the foregoing Persons’
                           respective past, present, and future parents, subsidiaries, merged companies,
                           divisions, and acquired companies; (iv) each of the foregoing Persons’
                           respective predecessors, successors, and assigns; and (v) any and all past
                           and present employees, officers, directors, shareholders, principals,
                           teachers, staff, members, boards, administrators, priests, deacons, brothers,
                           sisters, nuns, other clergy or Persons bound by monastic vows, volunteers,
                           agents, attorneys, and representatives of the Persons identified in the
                           foregoing subsections (i)-(iv) in their capacity as such. Nothing in the
                           foregoing is intended to suggest that such Persons are “employees” or
                           agents of the Diocese or subject to its control. An individual who
                           perpetrated an act of Abuse that forms the basis of a Tort Claim is not a
                           Diocese Party as to that Tort Claim. No religious order, archdiocese, or
                           diocese, other than the Diocese itself, is a Diocese Party.

                  32.      “Disputed” when used with respect to a Claim against the Diocese or
                           property of the Diocese, means a Claim: (i) designated as disputed,
                           contingent, or unliquidated in the Debtor’s Schedules; (ii) which is the
                           subject of an objection, appeal, or motion to estimate that has been or will
                           be timely filed by a party in interest and which objection, appeal, or motion
                           has not been determined by a Non-Appealable Order; or (iii) which during
                           the period prior to the deadline fixed by the Plan or the Bankruptcy Court
                           for objecting to such Claim, is in excess of the amount scheduled as other
                           than disputed, unliquidated, or contingent. The processes for handling
                           “Disputed Claims” do not apply to Class 3 or Class 4 Claims. In the event
                           that any part of a Claim is Disputed, such Claim in its entirety shall be
                           deemed to constitute a Disputed Claim for purposes of distribution under
                           the Plan unless the Debtor or the Reorganized Debtor, as applicable, and the
                           holder thereof agree otherwise. To the extent the term “Disputed” is used in
                           the Plan with respect to a specified class of Claims or an unclassified
                           category of Claims (i.e., “Disputed [class designation/unclassified Claim
                           category] Claim”), the resulting phrase shall mean a Disputed Claim of the
                           specified class or unclassified category of Claims.




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                  33.      “Distribution Plan Claimants” are Tort Claimants who elect to have their
                           Tort Claim treated by the Tort Claims Reviewer pursuant to the Trust
                           Distribution Plan.

                  34.      “District Court” means the United States District Court for the District of
                           Minnesota.

                  35.      “Effective Date” means the date upon which the conditions in Article XII
                           of the Plan have been satisfied.

                  36.      “Estate” means the estate created in this Chapter 11 case pursuant to Section
                           541 of the Bankruptcy Code.

                  37.      “Exculpated Parties” means collectively, (i) the Diocese Parties, the Estate,
                           and the UCC; (ii) the respective officers, directors, employees, members,
                           attorneys, financial advisors, members of subcommittees of the board of
                           directors, volunteers, and members of consultative bodies and councils
                           formed under Canon Law of the persons identified in the preceding clause
                           including with respect to their service or participation in an outside board
                           on which they serve at the request of the Diocese or the Bishop, in their
                           capacity as such; (iii) the Settling Insurer Entities with respect to their
                           Settling Insurer Entity Policies; and (iv) professionals of a Person identified
                           in the preceding clause (i) through (iii).

                  38.      “Extra-Contractual Claim” means any Claim against any of the Settling
                           Insurer Entities based, in whole or in part, on allegations that any of the
                           Settling Insurer Entities acted in bad faith or in breach of any express or
                           implied duty, obligation or covenant, contractual, statutory or otherwise
                           before the Effective Date, including any Claim on account of alleged bad
                           faith; failure to act in good faith; violation of any express or implied duty
                           of good faith and fair dealing; violation of any unfair Claims practices act
                           or similar statute, regulation, or code; any type of alleged misconduct; or
                           any other act or omission of any of the Settling Insurer Entities of any type
                           for which the claimant seeks relief other than coverage or benefits under a
                           policy of insurance. Extra-Contractual Claims include: (i) any Claim that,
                           directly or indirectly, arises out of, relates to, or is in connection with any
                           of the Settling Insurer Entities’ handling of any Claim or any request for
                           insurance coverage, including any request for coverage for any Claim,
                           including any Tort Claim or Class 3 Claim; (ii) any Claim that, directly or
                           indirectly, arises out of, relates to, or is in connection with any of the Settling
                           Insurer Entity Policies, or any contractual duties arising therefrom,
                           including any contractual duty to defend any of the Protected Parties against
                           any Claim, and (iii) any Claim that directly or indirectly, arises out of,
                           relates to, or is in connection with the conduct of the Settling Insurer Entities
                           with respect to the negotiation of Insurance Settlement Agreements and the
                           Plan.



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                  39.      “Fee Application” means an application filed with the Bankruptcy Court in
                           accordance with the Bankruptcy Code and Bankruptcy Rules for payment
                           of a Professional Claim.

                  40.      “Final Decree” means the decree contemplated under Bankruptcy Rule
                           3022.

                  41.      “Fireman's Fund” means Fireman's Fund Insurance company; each of its
                           past, present and future parents, subsidiaries, affiliates, and divisions; each
                           of the foregoing Person’s respective past, present, and future parents,
                           subsidiaries, affiliates, holding companies, merged companies, related
                           companies, divisions and acquired companies; each of the foregoing
                           Person’s respective past, present, and future directors, officers,
                           shareholders, employees, partners, principals, agents, attorneys, joint
                           ventures, joint venturers, representatives, and claims handling
                           administrators, and each of the foregoing Person’s respective predecessors,
                           successors, assignors, and assigns, whether known or unknown, and all
                           Persons acting on behalf of, by, through or in concert with them.

                  42.      “Insurance Coverage Adversary Proceeding” means the Adversary
                           Proceeding against the Liberty Mutual Group and others, commenced by
                           the Diocese in Minnesota Federal District Court and referred to the
                           Bankruptcy Court as Adv. Proceeding No. 16-05012.

                  43.      “Insurance Settlement Agreements” means (i) the Diocese Insurance
                           Settlement Agreements, and (ii) the settlement agreements between the
                           Diocesan Parishes (including any Catholic Entities) and the Parish Settling
                           Insurers.

                  44.      “Interest” means all liens, Claims, encumbrances, interests, and other rights
                           of any nature, whether at law or in equity, including any rights of
                           contribution, indemnity, defense, subrogation, or similar relief.

                  45.      “Lien” means any mortgage, lien, pledge, security interest or other charge
                           or encumbrance or security device of any kind in, upon, or affecting any
                           Asset of the Debtor as contemplated by Section 101(37) of the Bankruptcy
                           Code.

                  46.      “Medicare Claims” means any and all Claims relating to Tort Claims by the
                           Centers for Medicare & Medicaid Services of the United States Department
                           of Health and Human Services and/or any other agent or successor Person
                           charged with responsibility for monitoring, assessing, or receiving reports
                           made under MMSEA and pursuing Claims under MSP, including Claims
                           for reimbursement of payments made to Tort Claimants who recover or
                           receive any distribution from the Trust and Claims relating to reporting
                           obligations.



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                  47.      “Medicare Trust Fund” means a U.S. Treasury-held trust fund account from
                           which Medicare is funded or from which Medicare disbursements are paid,
                           including the Hospital Insurance Trust Fund and the Supplementary
                           Medical Insurance (SMI) Trust Fund.

                  48.      “MMSEA” means § 111 of the “Medicare, Medicaid, and SCHIP Extension
                           Act of 2007 (P.L.110-173)”, which imposes reporting obligations on those
                           Persons with payment obligations under the MSP.

                  49.      “MSP” means 42 U.S.C. § 1395y et seq., or any other similar statute or
                           regulation, and any related rules, regulations, or guidance issued in
                           connection therewith or amendments thereto.

                  50.      “Non-Appealable Order” means an order, judgment, or other decree
                           (including any modification or amendment thereof) that remains in effect
                           and is final and has not been reversed, withdrawn, vacated, or stayed, and
                           as to which the time to appeal or seek review, rehearing, or writ of certiorari
                           has expired and as to which no appeal, petition for certiorari, or other
                           proceedings for reargument or rehearing shall then be pending or as to
                           which, if such an appeal, writ of certiorari, review, reargument, or rehearing
                           has been timely sought, then no order judgment, or other decree is a Non-
                           Appealable Order until (a) such appeal, certiorari, review, reargument, or
                           rehearing has been denied or dismissed and the time to take any further
                           appeal or petition for certiorari, review, reargument, or rehearing has
                           expired; or (b) such order has been affirmed by the highest court to or in
                           which such order was appealed, reviewed, reargued, or reheard, or that
                           granted certiorari, and the time to take any further appeal or petition for
                           certiorari, review, reargument, or rehearing has expired; provided, however,
                           that the possibility that a motion under Rule 59 or Rule 60 of the Federal
                           Rules of Civil Procedure or any analogous rule under the Bankruptcy Rules
                           may be filed with respect to such order shall not cause such order not to be
                           a “Non-Appealable Order.”

                  51.      “Other Insured Entities” means those Persons listed on Exhibit L, insured
                           or covered or allegedly insured or covered under a Diocesan Settling Insurer
                           Entity Policy that was issued or allegedly issued to the Diocese, but only
                           with respect to any Claim that would be covered or alleged to be covered
                           under that Diocese Settling Insurer Entity Policy but for a Diocese Insurance
                           Settlement Agreement, including Tort Claims based on alleged Abuse that
                           occurred in whole or in part during the effective periods of that Diocesan
                           Settling Insurer Entity Policy. Notwithstanding the foregoing, “Other
                           Insured Entities” does not include the Diocese, the Parishes, or the Parish
                           Parties.

                  52.      “Parish Insurance Policy(ies)” means any and all known and unknown
                           contracts, binders, certificates, or policies of insurance in effect on or before
                           the Effective Date that were issued to, allegedly issued to, or for the benefit

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                           of, or that otherwise actually, allegedly, or potentially insure, a Diocesan
                           Parish or any of its predecessors in interest, successors or assigns and that
                           actually, allegedly, or could potentially afford coverage with respect to a
                           Tort Claim; provided, however, that if a contract, binder, certificate, or
                           policy of insurance that was not issued or allegedly issued to a Diocesan
                           Parish insures or covers both a Diocesan Parish and another Person, that
                           contract, binder, certificate, or policy of insurance is a “Parish Insurance
                           Policy” to the extent it insures or covers a Diocesan Parish, but not to the
                           extent it insures or covers any other Person. For the avoidance of doubt,
                           “Parish Insurance Policies” does not include any Diocesan Insurance Policy
                           that was issued or allegedly issued to the Diocese.

                  53.      “Parish Parties” means collectively the Catholic Entities and, in their
                           capacity as such: (i) each of the past, present, and future parents,
                           subsidiaries, merged companies, divisions, and acquired companies of the
                           Catholic Entities; (ii) any and all named covered party and additional
                           covered party under the certificates of insurance issued by Catholic Mutual,
                           including every Protected Person (as defined in the parish certificates); (iii)
                           any and all named insured Person, insured Person, additional insured
                           Person, or any other Person claiming coverage under any Diocesan
                           Insurance Policy, including every Protected Person (as defined in such
                           Diocesan Insurance Policy); (iv) each of the foregoing Persons’ respective
                           past, present, and future parents, subsidiaries, merged companies, divisions,
                           and acquired companies; (v) each of the foregoing Persons’ respective
                           predecessors, successors, and assigns; and (vi) any and all past and present
                           employees, officers, directors, shareholders, principals, teachers, staff,
                           members, boards, administrators, priests, deacons, brothers, sisters, nuns,
                           other clergy or Persons bound by monastic vows, volunteers, agents,
                           attorneys, and representatives of the Persons identified in the foregoing
                           subsections (i)-(vi). Nothing in the foregoing is intended to suggest that
                           such Persons are “employees” or agents of a Catholic Entity or subject to
                           its control. An individual who perpetrated an act of Abuse that forms the
                           basis of a Tort Claim is not a Parish Party as to that Tort Claim. No religious
                           order, archdiocese, or diocese is a Parish Party.

                  54.      “Parish Settling Insurer Entities” means the Parish Settling Insurers and
                           each of their past, present and future parents, subsidiaries, affiliates, and
                           divisions; each of the foregoing Persons’ respective past, present, and future
                           parents, subsidiaries, affiliates, holding companies, merged companies,
                           related companies, divisions, and acquired companies reinsurers, and
                           retrocessionaires, including the Persons released pursuant to the Insurance
                           Settlement Agreements; each of the foregoing Persons’ respective past,
                           present and future directors, officers, shareholders, employees, subrogees,
                           partners, principals, agents, attorneys, joint ventures, joint venturers,
                           representatives, and Claims handling administrators; and each of the
                           foregoing Persons’ respective predecessors, successors, assignors, and


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                           assigns, whether known or unknown, and all Persons acting on behalf of,
                           by, through or in concert with them.

                  55.      “Parish Settling Insurer Entity Policies” means any and all Parish Insurance
                           Policies issued by a Parish Settling Insurer.

                  56.      “Parish Settling Insurers” means the persons listed on Exhibit I.

                  57.      “Person” means any individual or entity, including any corporation, limited
                           liability company, partnership, general partnership, limited partnership,
                           limited liability partnership, limited liability limited partnership,
                           proprietorship, association, joint stock company, joint venture, estate, trust,
                           trustee, personal executor or personal representative, unincorporated
                           association, or other entity, including any federal, international, foreign,
                           state, or local governmental or quasi-governmental entity, body, or political
                           subdivision or any agency or instrumentality thereof and any other
                           individual or entity within the definition of (i) “person” in Section 101(41)
                           of the Bankruptcy Code; or (ii) “entity” in Section 101(15) of the
                           Bankruptcy Code.

                  58.      “Petition Date” means December 7, 2015, the date on which the Diocese
                           commenced the Chapter 11 case.

                  59.      “Plan” means this joint Chapter 11 plan of reorganization, either in its
                           present form or as it may be altered, amended, or modified from time to
                           time in accordance with the provisions of the Bankruptcy Code and the
                           Bankruptcy Rules.

                  60.      “Plan Proponents” means the Diocese and the UCC.

                  61.      “Priority Tax Claim” means a Claim of a governmental unit of the kind
                           specified in Section 507(a)(8) of the Bankruptcy Code.

                  62.      “Pro Rata” means, with respect to any distribution on account of any
                           allowed Claim in any class, the ratio of (i) the amount of such allowed Claim
                           to (ii) the sum of (a) all allowed Claims in such class and (b) the aggregate
                           maximum of all allowed Claims in such class.

                  63.      “Professional” means any professional employed or to be compensated
                           pursuant to §§ 327, 328, 330, 331, 503(b), or 1103 of the Bankruptcy Code.

                  64.      “Professional Claim” means a Claim for compensation for services and/or
                           reimbursement of expenses pursuant to §§ 327, 328, 330, 331, or 503(b) of
                           the Bankruptcy Code in connection with an application made to the
                           Bankruptcy Court in the Chapter 11 case.




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                  65.      “Proof of Claim” means a proof of Claim filed in the Chapter 11 case
                           pursuant to § 501 of the Bankruptcy Code and/or pursuant to any order of
                           the Bankruptcy Court, together with supporting documents.

                  66.      “Protected Party” means any of the Diocese Parties, the Reorganized
                           Debtor, and the Parish Parties and, solely to the extent of and in their
                           capacity as such, their respective predecessors and successors, and all of the
                           foregoing Persons’ past, present, and future members, shareholders,
                           trustees, officers, directors, officials, employees, agents, representatives,
                           servants, contractors, consultants, volunteers, attorneys, professionals,
                           insiders, subsidiaries, merged or acquired companies or operations, and
                           their successors and assigns; but an individual who perpetrated an act of
                           Abuse that forms the basis of a Tort Claim is not a Protected Party for that
                           Tort Claim. Protected Party also includes (a) the Other Insured Entities and
                           (b) solely to the extent of and in their capacity as such, the Other Insured
                           Entities’ respective predecessors and successors, and all of the foregoing
                           Person’s, past, present, and future members, shareholders, trustees, officers,
                           directors, officials, employees, agents, representatives, servants,
                           contractors, consultants, volunteers, attorneys, professionals, insiders,
                           subsidiaries, merged or acquired companies or operations, and their
                           successors and assigns. For the avoidance of doubt, and as more fully set
                           forth in the definition of “Other Insured Entities,” such “Other Insured
                           Entities,” are Protected Parties only as to certain Claims, including only
                           certain Tort Claims. No religious order, archdiocese or diocese other than
                           the Diocese itself is a Protected Party.

                  67.      “Related Insurance Claim” means (i) any Claim by any Person against any
                           Protected Party or a Settling Insurer Entity, including an Extra-Contractual
                           Claim, that, directly or indirectly, arises from, relates to, or is in connection
                           with a Tort Claim, including any such Claim for defense, indemnity,
                           contribution, subrogation, or similar relief or any direct action or Claim,
                           including an action or Claim under Minn. Stat. § 60A.08, subd. 8, and (ii)
                           any Extra-Contractual Claim that, directly or indirectly, arises out of ,
                           relates to, or is in connection with any Tort Claim, including any Claim that,
                           directly or indirectly, arises out of, relates to, or is in connection with any
                           of the Settling Insurer Entities' handling of any Tort Claim. However,
                           Related Insurance Claim does not include any Unknown Tort Claim against
                           the Reorganized Debtor.

                  68.      “Reorganization Assets” means, collectively, all Assets of the Debtor and
                           the Estate. For the avoidance of doubt, the Reorganization Assets do not
                           include the Trust Assets.

                  69.      “Reorganized Debtor” means the Diocese, on and after the Effective Date.

                  70.      “Settling Insurer Entities” means the Diocesan Settling Insurer Entities and
                           the Parish Settling Insurer Entities.

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                  71.      “Settling Insurer Entity Policies” mean the Diocesan Settling Insurer Entity
                           Policies and the Parish Settling Insurer Entity Policies.

                  72.      “Settling Insurers” means the Diocesan Settling Insurers and the Parish
                           Settling Insurers.

                  73.      “Supplemental Plan Documents” means, collectively, the documents
                           included (or to be included) in the supplemental appendix to the Plan and
                           filed with the Bankruptcy Court at least 14 days prior to the confirmation
                           hearing.

                  74.      “Supplemental Settling Insurer Injunction” means the injunction imposed
                           pursuant to Section 7.9 of the Plan.

                  75.      “Tort Claim” means any Claim against any of the Protected Parties or any
                           of the Settling Insurer Entities that arises out of, relates to, results from, or
                           is in connection with, in whole or in part, directly or indirectly, Abuse that
                           took place in whole or in part prior to the Effective Date, including any such
                           Claim that seeks monetary damages or any other relief, under any theory of
                           liability, including vicarious liability; respondeat superior; any fraud-based
                           theory, including fraud in the inducement; any negligence-based or
                           employment-based theory, including negligent hiring, supervision,
                           retention or misrepresentation; any other theory based on misrepresentation,
                           concealment, or unfair practice; contribution; indemnity; public or private
                           nuisance; or any other theory, including any theory based on public policy
                           or any acts or failures to act by any of the Protected Parties, any of the
                           Settling Insurer Entities or any other Person for whom any of the Protected
                           Parties are allegedly responsible, including any such Claim asserted against
                           any of the Protected Parties in connection with the Reorganization Case.
                           Tort Claim includes any Unknown Tort Claim.

                  76.      “Tort Claimant” means the holder of a Tort Claim.

                  77.      “Tort Claims Reviewer” means the Person, including the designee of such
                           person or entity, who will assess Class 3 and Class 4 Claims under the Trust
                           Distribution Plan.

                  78.      “Trust” means the trust created for the benefit of Tort Claimants in
                           accordance with the Plan and Confirmation Order and the Trust Agreement.

                  79.      “Trust Agreement” or “Trust Documents” shall mean the trust agreement
                           establishing the Trust, as may be amended, together with such additional
                           documents as may be executed in connection with the Trust Agreement.

                  80.      “Trust Assets” means the cash and other assets to be transferred to the Trust
                           under Article V of the Plan.



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                  81.      “Trust Distribution Plan” means the Trust Distribution Plan established
                           under the Trust Agreement.

                  82.      “Trustee” means the Person appointed as Trustee of the Trust in accordance
                           with the terms of the Plan, the Confirmation Order, and the Trust
                           Agreement, or any successor appointed in accordance with the terms of the
                           Plan, Confirmation Order, and the Trust Agreement.

                  83.       “UCC” means the Official Committee of Unsecured Creditors appointed in
                           this Chapter 11 case, as such committee may be constituted from time to
                           time.

                  84.      “Unimpaired” means, with respect to a class of Claims, that such class is
                           not impaired.

                  85.      “Unknown Claims Representative” means Judge Michael R. Hogan in
                           accordance with the Bankruptcy Court’s dated January 4, 2018, Doc. 328,
                           and any successor or such other person appointed by the Bankruptcy Court
                           or otherwise.

                  86.      “Unknown Tort Claim” means any Tort Claim that was neither filed, nor
                           deemed filed by the Claims Filing Date, and is held by (i) an individual who
                           was at the time of the Petition Date under a disability recognized by Minn.
                           Stat. § 541.15, subds. 1, 2 and 3 (or other applicable law suspending the
                           running of the limitation period, if any, other than Minn. Stat. § 541.15,
                           subd. 4); (ii) an individual who experienced Abuse prior to and including
                           the Effective Date and whose Claim is timely under Minn. Stat. § 541.073
                           subd. 2 as amended in 2013; (iii) an individual who has a Tort Claim that
                           was barred by the statute of limitations as of the Claims Filing Date but is
                           no longer barred by the applicable statute of limitations for any reason as of
                           the Effective Date, including the enactment of legislation that revises
                           previously time-barred Tort Claims; (iv) Tort Claims that the holder was
                           incapable of knowing of the existence of his or her Tort Claim as of the
                           Effective Date for any reason, including memory repression or memory
                           suppression; or (v) any other individual or class of individuals the Unknown
                           Tort Claim Representative can identify that would have a Tort Claim on or
                           prior to the Effective Date.

                  87.      “Unknown Tort Claim Reserve Fund” means the reserve established for the
                           benefit of Unknown Tort Claimants pursuant to Section 6.2(b) of the Plan.

                  88.      “Unknown Tort Claimant” means the holder of a Unknown Tort Claim, the
                           estate of a deceased individual who held a Unknown Tort Claim, or the
                           personal executor or personal representative of the estate of a deceased
                           individual who held a Unknown Tort Claim, as the case may be.




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                  89.      “Unsecured Claims” means Claims which are not secured by any property
                           of the Debtor’s Estate and which are not part of any other class defined in
                           this Plan.

                  90.      “U.S. Trustee” means the Office of the United States Trustee for Region 12,
                           which includes the District of Minnesota.

         1.2      INTERPRETATION. For purposes of the Plan:

                 (a)   any term that is not defined herein, but that is used in the Bankruptcy Code
         or the Bankruptcy Rules, shall have the meaning assigned to that term in the Bankruptcy
         Code or the Bankruptcy Rules, as applicable;

                 (b)     the terms “including” or “include(s)” are intended to be illustrative and not
         exhaustive, and shall be construed as “including, but not limited to” or “include(s), but is
         not limited to”;

                (c)     whenever the context requires, terms shall include the plural as well as the
         singular number, and the masculine gender shall include the feminine and the feminine
         gender shall include the masculine;

                 (d)   the rules of construction set forth in Section 102 of the Bankruptcy Code
         and in the Bankruptcy Rules shall apply;

                 (e)      unless the context should otherwise require, all references to documents to
         be filed shall refer to filing with the Bankruptcy Court in accordance with the Bankruptcy
         Code and Bankruptcy Rules;

                (f)    any reference in the Plan to a contract, instrument, release, indenture, or
         other agreement or document being in a particular form or on particular terms and
         conditions means that such document shall be substantially in such form or substantially
         on such terms and conditions;

                (g)    any reference in the Plan to an existing document or exhibit filed or to be
         filed means such document or exhibit, as it may have been or may be amended, modified
         or supplemented;

                (h)      unless otherwise specified, all references in the Plan to “Articles,”
         “Sections,” “Schedules” and “Exhibits” are references to Articles, Sections, Schedules and
         Exhibits of or to the Plan;

                 (i)     the words “herein,” “hereof,” and “hereto” refer to the Plan in its entirety
         rather than to a particular portion of the Plan;

                 (j)     captions and headings to Articles and Sections are inserted for ease of
         reference only and shall not be considered a part of the Plan or otherwise affect the
         interpretation of the Plan; and


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                 (k)     the Plan supersedes all prior drafts of the Plan, and all prior negotiations,
         agreements, and understandings with respect to the Plan, evidence of which shall not affect
         the interpretation of any provision of the Plan.

       1.3     TIME PERIODS. In computing any period of time prescribed or allowed by the
Plan, unless otherwise expressly provided, the provisions of Bankruptcy Rule 9006(a) shall apply.
Enlargement of any period of time prescribed or allowed by the Plan shall be governed by the
provisions of Bankruptcy Rule 9006(b).

         1.4      EXHIBITS AND SCHEDULES.

               (a)     All Exhibits and Schedules to the Plan (including any Supplemental Plan
         Documents) (with the Plan, the “Plan Documents”) are hereby incorporated by reference
         and made part of the Plan as if set forth fully herein.

                  (b)      The Exhibits to the Plan include the following:

                           Exhibit A:    Unknown Claims Representative's Report and
                                         Recommendation
                           Exhibit B:    [RESERVED]
                           Exhibit C:    [RESERVED]
                           Exhibit D:    Trust Agreement and Trust Distribution Protocol
                           Exhibit E:    Tort Claim Release
                           Exhibit F:    Unknown Tort Claim Release
                           Exhibit G:    [RESERVED]
                           Exhibit H:    List of Current Parishes
                           Exhibit I:    Known Diocese Entity Insurance Policies
                           Exhibit J:    Officers and Directors of Reorganized Debtor
                           Exhibit K:    Child Protection Protocols
                           Exhibit K(1): Appendix A
                           Exhibit L:    Other Insured Entities
                           Exhibit M:    List of Catholic Entities

                                           ARTICLE II
                                TREATMENT OF UNCLASSIFIED CLAIMS

        2.1     ADMINISTRATIVE CLAIMS. As provided in Section 1123(a)(1) of the
Bankruptcy Code, Administrative Claims including Professional Claims, and Priority Tax Claims
shall not be classified for the purposes of voting or receiving distributions under the Plan. Rather,
all such Claims shall be treated separately as unclassified Claims on the terms set forth in this
Article.

                  (a)     Treatment. Each holder of an allowed Administrative Claim, excluding
         Professional Claims, against the Diocese shall receive, in full satisfaction, settlement,
         release, and extinguishment of such Claim, an amount from the Reorganized Debtor equal
         to the allowed amount of such Administrative Claim, unless the holder agrees in writing to
         other treatment of such Claim. Each holder of an allowed Professional Claim shall receive,
         in full satisfaction, settlement, release, and extinguishment of such Claim, an amount from

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         the Reorganized Debtor equal to the allowed amount of such Professional Claim, unless
         the holder agrees in writing to other treatment of such Claim and subject to the provisions
         of Section 5.2 of this Plan.

                  (b)      Administrative Filing Deadline.

                          (1)    Except as otherwise set forth in this Plan, requests for allowance and
                  payment of Administrative Claims must be filed and served no later than thirty (30)
                  days after a notice of the Effective Date is filed with the Bankruptcy Court (the
                  “Administrative Claims Filing Deadline”). Administrative Claims holders,
                  excluding Professional Claims, that do not file a request for payment by the
                  Administrative Claims Filing Deadline shall be forever barred from asserting such
                  Claims against the Diocese, the Reorganized Debtor, any Settling Insurer Entity (to
                  the extent applicable), the Trust, or any of their property.

                         (2)     All objections to the allowance of Administrative Claims (excluding
                  Professional Claims) must be served and filed by any parties-in-interest no later
                  than fourteen (14) days after the Administrative Claim Filing Deadline (the
                  “Administrative Claim Objection Deadline”). If no objection to the applicable
                  Administrative Claim is filed on or before the Administrative Claim Objection
                  Deadline, such Administrative Claim will be deemed allowed. For the avoidance of
                  doubt, the Administrative Claim Objection Deadline established by this
                  subparagraph shall control over any contrary deadline set forth in any requests for
                  payment of Administrative Claims.

                  (c)      Professional Claim Filing Deadline.

                          All Professionals or other Persons holding a Professional Claim for services
                  rendered on or before the Effective Date (including, among other things, any
                  compensation requested by any Professional or any other Person for making a
                  substantial contribution in the Chapter 11 case) shall file and serve an application
                  for final allowance of compensation and reimbursement of expenses accruing from
                  the Petition Date to the Effective Date, no later than thirty (30) days after a notice
                  of the Effective Date is filed (the “Professional Claim Filing Deadline”).

        2.2     STATUTORY FEES. All fees due and payable pursuant to 28 U.S.C. § 1930 and
not paid prior to the Effective Date shall be paid by the Reorganized Debtor as soon as practicable
after the Effective Date. After the Effective Date, the Trust shall pay quarterly fees to the U.S.
Trustee until the Chapter 11 case is closed. The Reorganized Debtor shall file post-Confirmation
Date quarterly reports in conformance with the U.S. Trustee guidelines. The U.S. Trustee shall not
be required to file a request for payment of its quarterly fees, which will be deemed Administrative
Claims against the Debtor and its Estate. The Reorganized Debtor shall remain responsible for any
unpaid fees and reports.

        2.3     PRIORITY TAX CLAIMS. With respect to each allowed Priority Tax Claim not
paid prior to the Effective Date, the Reorganized Debtor shall (i) pay such Claim in cash as soon
as practicable after the Effective Date from its ongoing operations, or (ii) provide such other


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treatment agreed to by the holder of such allowed Priority Tax Claim and the Diocese or
Reorganized Debtor, as applicable, in writing, provided such treatment is no less favorable to the
Diocese than the treatment set forth in clause (i) of this sentence.

                                          ARTICLE III
                                   CLASSIFICATION OF CLAIMS

        3.1    SUMMARY. The categories of Claims listed below classify Claims (except for
Administrative Claims and Priority Tax Claims) for all purposes, including voting, confirmation
of the Plan, and distribution pursuant to the Plan.

      CLASS         DESCRIPTION                                 IMPAIRMENT           VOTING
      1             Priority Claim                              Unimpaired           No
      2             Governmental Unit Claims                    Unimpaired           No
      3             Tort Claims Other Than Unknown Tort         Impaired             Yes
                    Claims
      4             Unknown Tort Claims                         Impaired             Yes
      5             General Unsecured Claims                    Impaired             Yes
      6A            Abuse Related Contingent Claims             Impaired             Yes
      6B            Abuse Related Contingent Claims             Impaired             Yes

        3.2      CLASSIFICATION AND VOTING. The Claims against the Debtor shall be
classified as specified above (other than Administrative Claims and Priority Tax Claims, which
shall be unclassified and treated in accordance with Article II). Consistent with Section 1122 of
the Bankruptcy Code, a Claim is classified by the Plan in a particular class only to the extent the
Claim is within the description of the class, and a Claim is classified in a different class to the
extent it is within the description of that different class.

                                         ARTICLE IV
                                TREATMENT OF CLASSIFIED CLAIMS

          4.1     PRIORITY CLAIMS (CLASS 1).

                  (a)     Definition. A Class 1 Claim means an allowed Claim described in, and
          entitled to priority under Sections 507(a) and 503(b)(9) of the Bankruptcy Code other than
          an Administrative Claim or a Priority Tax Claim.

                  (b)    Treatment. Unless the holder of an allowed Class 1 Claim and the Diocese
          or the Reorganized Debtor (as applicable) agree to a different treatment, the Reorganized
          Debtor shall pay each such allowed Class 1 Claim in full, in cash, without interest, from
          ongoing operations on the later of the Effective Date (or as soon thereafter as is practicable)
          and the date a Class 1 Claim becomes an allowed Claim (or as soon thereafter as is
          practicable).

          4.2     GOVERNMENTAL UNIT CLAIMS (CLASS 2).



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                (a)     Definition. A “Class 2 Claim” means an allowed Claim of Governmental
         Units not otherwise included in Article II or Section 4.1 above.

                 (b)    Treatment. Unless the holder of an allowed Class 2 Claim and the Diocese
         or the Reorganized Debtor (as applicable) agree to a different treatment, the Reorganized
         Debtor shall pay each such allowed Class 2 Claim in full, in cash, without interest, from
         ongoing operations on the later of the Effective Date (or as soon thereafter as is practicable)
         and the date a Class 2 Claim becomes an allowed Claim (or as soon thereafter as is
         practicable).

         4.3      TORT CLAIMS OTHER THAN UNKNOWN TORT CLAIMS (CLASS 3).

                (a)    Definition. A Class 3 Claim means a Tort Claim other than an Unknown
         Tort Claim (“Class 3 Claim”). A “Class 3 Claimant” shall mean a holder of a Class 3
         Claim.

                 (b)      Summary. The Plan creates a Trust to fund payments to Class 3 Claimants
         entitled to such payments under the Plan, Trust Agreement and Trust Distribution Plan.
         Class 3 Claimants’ share of the Trust Assets as provided by the Trust Distribution Plan is
         the only amount, if any, they will be entitled to receive from the Protected Parties and
         Settling Insurer Entities. Distribution from the Trust does not preclude Claims or recoveries
         by Tort Claimants against Persons who are not Protected Parties or Settling Insurer Entities
         for the liability of such Persons not attributable to the causal fault or share of liability of
         Protected Parties or Settling Insurer Entities under the Settling Insurer Entity Policies. Any
         Person that is or was alleged to be a joint tortfeasor with any of the Protected Parties in
         connection with the Abuse that forms the basis of a Tort Claim shall not be liable for any
         Protected Party’s share of causal liability or fault.

                  (c)     Reservation. Except with respect to the Protected Parties and the Settling
         Insurer Entities, nothing in the Plan is intended to affect, diminish, or impair the rights of
         any Tort Claimant against any Person named or that could be named as a defendant in a
         lawsuit based on the Abuse that forms the basis for his or her Tort Claim except that the
         rights of Tort Claimants against third-parties, including joint tortfeasors, does not include
         the right of Tort Claimants to collect or to obtain a reallocation of the share of any judgment
         initially allocated to a Protected Party to any third-party based on the causal fault or share
         of liability of Protected Parties. Any Person that is or was alleged to be a joint tortfeasor
         with any of the Protected Parties in connection with a Tort Claim shall not be liable for any
         Protected Party’s share of liability or fault. Under no circumstances will the reservation of
         such Tort Claimant’s rights against any other Person impair the discharge, Channeling
         Injunctions, or Supplemental Settling Insurer Injunction with respect to any Protected
         Party, the Reorganized Debtor or Settling Insurer Entities.

                (d)     Treatment. The Protected Parties’ and Settling Insurer Entities’ liability for
         and obligation to pay, if any, Class 3 Claims shall be assigned to and assumed by the Trust.
         Each Class 3 Claim will be estimated solely for purposes of voting. The Protected Parties
         and the Settling Insurer Entities shall have no further liability in connection with Class 3
         Claims.


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                  (e)    Release and Certification. No Class 3 Claimant shall receive any payment
         on any award unless and until such Class 3 Claimant has executed the Release attached as
         Exhibit E to this Plan. Notwithstanding the foregoing, nothing in this Article requires any
         Tort Claimant to release any Claims against any joint tortfeasor who is not a Protected
         Party, and such Claims are reserved. But in no event may a Tort Claimant collect on that
         portion of any judgment or obtain any reallocation of any judgment based on the causal
         fault or share of liability of any Protected Parties. Any Person that is or was alleged to be
         a joint tortfeasor with any of the Protected Parties in connection with the Abuse that forms
         the basis of a Tort Claim shall be provided by the Trustee with a copy of the executed
         Release upon reasonable request and provision of an appropriate, executed confidentiality
         agreement and shall not be liable for any Protected Parties’ share of liability or fault. The
         release of these Class 3 Claims is pursuant to the principles set forth in Pierringer v. Hoger,
         124 N.W.2d 106 (Wis. 1963) and Frey v. Snelgrove, 269 N.W.2d 918 (Minn. 1978). The
         Trust shall be obligated to provide copies of the Tort Claimants’ releases and certifications
         to any of the Protected Parties or Settling Insurer Entities upon request.

         4.4      UNKNOWN TORT CLAIMS (CLASS 4).

               (a)     Definition. A Class 4 Claim means an Unknown Tort Claim (“Class 4
         Claim”). A “Class 4 Claimant” shall mean a holder of a Class 4 Claim.

                  (b)     Summary. The Plan requires that the Reorganized Debtor fund payments
         to Class 4 Claimants entitled to such payments under the Plan and Trust Distribution Plan.
         Class 4 Claimants will not receive any distributions from the Trust or from any Trust Assets
         as such payments will be made by the Reorganized Debtor. Payment by the Reorganized
         Debtor does not preclude Claims or recoveries by Tort Claimants against Persons other
         than the Protected Parties and Settling Insurer Entities for the liability of such other Persons
         not attributable to the causal fault or share of liability of Protected Parties or Settling Insurer
         Entities under the Settling Insurer Entity Policies. Any Person that is or was alleged to be
         a joint tortfeasor with any of the Protected Parties in connection with the Abuse that forms
         the basis of a Tort Claim shall not be liable for any Protected Party’s share of liability or
         fault.

                  (c)     Reservation. Except with respect to the Protected Parties (other than the
         Reorganized Debtor) and the Settling Insurer Entities, nothing in the Plan is intended to
         affect, diminish, or impair the rights of any Unknown Tort Claimant against any Person
         named or that could be named as a defendant in a lawsuit based on the Abuse that forms
         the basis of his or her Unknown Tort Claim except that the rights of Unknown Tort
         Claimants against third-parties, including joint tortfeasors, does not include the right of
         Unknown Tort Claimants to collect or to obtain a reallocation of the share of any judgment
         initially allocated to a Protected Party to any third-party based on the causal fault or share
         of liability of Protected Parties. Any Person that is or was alleged to be a joint tortfeasor
         with any of the Protected Parties in connection with the Abuse that forms the basis of an
         Unknown Tort Claim shall not be liable for any Protected Party’s share of liability or fault.
         Under no circumstances will the reservation of such Unknown Tort Claimant’s rights
         against any other Person (including the Reorganized Debtor) impair the Supplemental
         Settling Insurer Injunction.

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                 (d)     Treatment. The Protected Parties’ and Settling Insurer Entities’ liability for
         and obligation to pay, if any, Class 4 Claims shall be assumed by the Reorganized Debtor.
         The maximum amount of the Reorganized Debtor's obligation to pay Class 4 Claimants
         shall be determined by the Unknown Claims Representative in his report and
         recommendation which is incorporated by reference and attached to this Plan as Exhibit
         A. With the exception of the Reorganized Debtor, the Protected Parties and the Settling
         Insurer Entities shall have no further liability therefor. The Diocese will submit all potential
         Class 4 Claimants' information to the Unknown Claims Representative for determination
         of the potential claimant's inclusion as a Class 4 Claimant. Individuals determined to hold
         a Class 4 Claim shall provide sufficient information to allow the Tort Claims Reviewer to
         make an evaluation of the Class 4 Claim pursuant to the factors in the Trust Distribution
         Plan, before any payment shall be made on a Class 4 Claim by the Reorganized Debtor.

                (e)     Determination of Class 4 Claims. Class 4 Claims will not be channeled to
         the Trust. Class 4 Claims will be determined by the Tort Claims Reviewer in accordance
         with the Trust Distribution Plan.

                  (f)    Release and Certification. No Class 4 Claimant shall receive any payment
         on any award unless and until such Class 4 Claimant has executed the Release attached as
         Exhibit F to this Plan. Notwithstanding the foregoing, nothing in this Article requires any
         Unknown Tort Claimant to release any Claims against any joint tortfeasor who is not a
         Protected Party (excluding the Reorganized Debtor) or a Settling Insurer Entity and such
         Claims are reserved. But in no event may a Class 4 Claimant collect on that portion of any
         judgment or obtain reallocation of any judgment based on the causal fault or share of
         liability of any Protected Party. Any Person that is or was alleged to be a joint tortfeasor
         with any of the Protected Parties in connection with an Unknown Tort Claim shall be
         provided by the Reorganized Debtor with a copy of the executed Release upon reasonable
         request and provision of an appropriate, executed confidentiality agreement and shall not
         be liable for any Protected Parties’ share of liability or fault. The release of these Class 4
         Claims against Protected Parties (excluding the Reorganized Debtor) and Settling Insurer
         Entities is pursuant to the principles set forth in Pierringer v. Hoger, 124 N.W.2d 106 (Wis.
         1963) and Frey v. Snelgrove, 269 N.W.2d 918 (Minn. 1978). The Reorganized Debtor shall
         be obligated to provide copies of the Tort Claimants’ releases and certifications to any of
         the Protected Parties or Settling Insurer Entities upon request.

         4.5      GENERAL UNSECURED CLAIMS (CLASS 5).

                 (a)    Definition. A Class 5 Claim means (1) any Claim arising out of the rejection
         of any executory contract, or (2) any Unsecured Claim that is not included in another class
         under the Plan and is not listed as disputed, contingent or unliquidated on the Debtor’s
         schedules filed in connection with this Chapter 11 case (“Debtor’s Schedules”) or as to
         which the holder of such Claim timely filed a Claim.

               (b)     Treatment. The holders of Class 5 Claims shall receive, directly from the
         Reorganized Debtor, payment in full of such allowed Class 5 Claim, without interest, in
         two equal installments. The first installment shall be due within 90 days following the



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         Effective Date. The second installment shall be due and payable within 180 days following
         the Effective Date.

         4.6      ABUSE RELATED CONTINGENT CLAIMS (CLASS 6A and CLASS 6B).

                (a)      Class 6A Definition. A Class 6A Claim means (i) any Claim for
         contribution, indemnity or reimbursement arising out of or related to the Diocese’s liability
         to pay or defend any Class 3, and (ii) the Claim of any insurers or other Persons who are
         subrogated to the Claims identified in Section 4.6(a) clause (i).

                  (b)     Class 6A Treatment. Claims in Class 6A shall be allowed or disallowed in
         accordance with Section 502(e)(1) of the Bankruptcy Code, and Class 6A Claims will
         receive no distribution under the Plan and will be channeled to the Trust. The treatment of
         Class 6A Claims shall include the release and certification procedures contemplated under
         Sections 4.3 and 4.4 above. The Plan does not allow Tort Claimants to collect that portion
         of any judgment or obtain reallocation of any judgment based on the causal fault or share
         of liability of any Protected Party. Any Person that is or was alleged to be a joint tortfeasor
         with any of the Protected Parties in connection with a Tort Claim shall not be liable for any
         Protected Party’s share of liability or fault.

                 (c)     Class 6B Definition. A Class 6B Claim means (i) any Claim for
         contribution, indemnity or reimbursement arising out of or related to the Diocese’s liability
         to pay or defend any Class 4 Claim, and (ii) the Claim of any insurers or other Persons who
         are subrogated to the Claims identified in Section 4.6(b) clause (i).

                 (d)     Class 6B Treatment. Claims in Class 6B shall be allowed or disallowed in
         accordance with Section 502(e)(1) of the Bankruptcy Code, and Class 6B Claims will
         receive no distribution under the Plan and will be assumed by the Reorganized Debtor. The
         treatment of Class 6B Claims shall include the release and certification procedures
         contemplated under Sections 4.3 and 4.4 above. The Plan does not allow Tort Claimants to
         collect that portion of any judgment or obtain reallocation of any judgment based on the
         causal fault or share of liability of any Protected Party. Any Person that is or was alleged
         to be a joint tortfeasor with any of the Protected Parties in connection with a Tort Claim
         shall not be liable for any Protected Party’s share of liability or fault.

                                       ARTICLE V
                          MEANS OF IMPLEMENTATION OF THE PLAN

         5.1      TRUST FORMATION AND FUNDING.

                 (a)    Purpose, Formation, and Assets. The Trust shall be established for the
         purposes of assuming liability of Protected Parties and Settling Insurer Entities for
         Channeled Claims and receiving, liquidating, and distributing Trust Assets in accordance
         with this Plan and the Trust Distribution Plan. The proposed Trust Agreement is attached
         hereto as Exhibit D.

                  (b)      Funding.


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                         (1)     Summary. This Plan will be funded from the sources and in the
                  manner set forth in this Section. In addition to the contributions described herein,
                  the Catholic Entities, and Other Insured Entities will waive certain Claims against
                  the Diocese and Settling Insurer Entities, including the Related Insurance Claims
                  and contribution and indemnity Claims referenced in Section 4.6.

                         (2)      Contributions. Cash and other assets with an expected value of
                  $39,200,000.00 (the “Settlement Amount”) will be paid or transferred, as
                  applicable, to the Trust Account as provided in the Plan and as described herein.

                                  (i)    Debtor Cash Contribution. The Debtor will transfer
                           $8,500,000.00 to the Trust Account within two business days after the
                           Confirmation Order has become a Non-Appealable Order (the “Debtor
                           Cash Contribution”). The Debtor Cash Contribution will be primarily
                           comprised of funds from the following sources:

                                          1.      non-restricted cash accounts held by the Diocese;

                                         2.      an account established to hold the proceeds derived
                                  from the sale of Diocese properties during the course of this Chapter
                                  11 case; and

                                         3.      the contributions of third parties, including the
                                  Debtor anticipates selling certain real property, using available cash
                                  savings, taking out a substantial loan, and the balance coming from
                                  the Catholic faithful, via contributions from the various Parishes,
                                  missions, and programs within the Diocese.

                                   (ii)    Settling Insurer Contributions. Each Diocese Settling
                           Insurer and Parish Settling Insurer shall pay to the Trust the sums set forth
                           in their respective Insurance Settlement Agreement (the "Insurance
                           Settlement Amounts") within the time set forth in their respective Insurance
                           Settlement Agreements. In addition, all rights to receive payment of the
                           Insurance Settlement Amounts under the Insurance Settlement Agreement
                           shall be assigned to the Trust. The total amount that will be paid to the Trust
                           by the Diocese Settling Insurers and the Parish Settling Insurers is
                           $30,700,000.00.

                  (c)      Vesting. On the Effective Date, all Trust Assets shall vest in the Trust, and
         the Diocese and other Protected Parties shall be deemed for all purposes to have transferred
         all Interests in the Trust Assets to the Trust. On the Effective Date, or as soon as practicable
         thereafter, the Reorganized Debtor or any other Protected Party, as applicable, shall take
         all actions reasonably necessary to transfer any Trust Assets to the Trust. Upon the transfer
         of control of Trust Assets in accordance with this paragraph, the Diocese and other
         Protected Parties shall have no further interest in or with respect to the Trust Assets.

       5.2   PAYMENT OF PROFESSIONAL FEES. The Reorganized Debtor shall pay all
unpaid Allowed Professional Claims within (i) seven (7) days after the later of the Effective Date

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or the Bankruptcy Court’s order on such Claims, or (ii) upon such terms as may exist pursuant to
Order of the Bankruptcy Court or an agreement between such holder of an Allowed Administrative
Claim and the Debtor, and shall pay costs and expenses of publication of the notices of insurance
settlement and plan confirmation within seven (7) days after the Effective Date. The Debtor
acknowledges and agrees that, pursuant to its unanticipated request that Committee counsel draft
this Joint Plan, the caps and limitations upon the fees and costs of Committee counsel, as set forth
in in the Order granting the employment of Committee Counsel in this Chapter 11 case, shall not
apply to fees specifically incurred in connection with the drafting of this Joint Plan. The entirety
of Committee counsel's fees and costs shall, however, remain subject in all respects to the review
and approval of the Bankruptcy Court and/or the objection of parties in interest other than the
Debtor, including but not limited to the Office of the United States Trustee.

       5.3     PAYMENT AND TREATMENT OF CLAIMS OTHER THAN TORT
CLAIMS. Payments due to creditors on account of Allowed Non-Tort Claims will be paid
pursuant to the terms of the Plan.

        5.4     PAYMENTS EFFECTIVE UPON TENDER. Whenever the Plan requires
payment to be made to a creditor, such payment will be deemed made and effective upon tender
thereof by the Trustee, the Debtor, or the Reorganized Debtor to the creditor to whom payment is
due. If any creditor refuses a tender, the amount tendered and refused will be held by the Trust,
the Debtor, or the Reorganized Debtor for the benefit of that creditor pending final adjudication of
the dispute. However, when and if the dispute is finally adjudicated and the creditor receives the
funds previously tendered and refused, the creditor will be obliged to apply the funds in accordance
with the Plan as of the date of the tender; and while the dispute is pending and after adjudication
thereof, the creditor will not have the right to Claim interest or other charges or to exercise any
other rights which would be enforceable by the creditor, if the Trust, the Debtor, or the
Reorganized Debtor failed to pay the tendered payment.

                                          ARTICLE VI
                                            TRUST

        6.1     ESTABLISHMENT OF TRUST. On or before the Confirmation Date, the Trust
shall be established in accordance with the Trust Documents. The Trust is intended to qualify as a
“Designated” or “Qualified Settlement Fund” pursuant to Section 468B of the Internal Revenue
Code and the Treasury Regulations promulgated thereunder. The Debtor is the “transferor” within
the meaning of Treasury Regulation Section 1.468B-1(d)(1). The Trustee shall be classified as the
“administrator” within the meaning of Treasury Regulation Section 1.468B-2(k)(3). The Trust
Documents, including the Trust Agreement, are incorporated herein by reference.

    6.2   ALLOCATIONS WITHIN AND DISTRIBUTIONS AND PAYMENTS
FROM THE TRUST.

                (a)    General Corpus. The following distributions and payments will be made
         from the general corpus of the trust:




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                         (1)     Distributions. Distributions on Class 3 Claims as determined by the
                  Tort Claims Reviewer in accordance with this Plan, the Trust Agreement, and the
                  Trust Distribution Plan.

                         (2)     Tort Claims Reviewer and Unknown Claims Representative.
                  The Trustee shall retain the Tort Claims Reviewer. Fees payable to the Tort Claims
                  Reviewer for review of Class 3 Claims shall be paid from the Trust. Fees payable
                  to the Tort Claims Reviewer for review of Class 4 Claims shall be paid by the
                  Reorganized Debtor.

                         (3)     Trust Administrative Fees. All fees, costs, and expenses of
                  administering the Trust as provided in the Plan and the Trust Agreement shall be
                  paid by the Trust, including: (i) as reasonably necessary to meet current liabilities
                  and to maintain the value of the respective Assets of the Trust; (ii) to pay reasonable
                  administrative expenses (including any taxes imposed on the Trust and any
                  professional fees); and (iii) to satisfy other liabilities incurred by the Trust in
                  accordance with the Plan or the Trust Agreement.

                         (4)     Indemnity. The Trust’s obligations, if any, to defend, indemnify, or
                  hold harmless any Person expressly set out in the Plan shall be made from the
                  corpus of the Trust.

                 (b)     UNKNOWN TORT CLAIM RESERVE FUND. The Reorganized
         Debtor shall establish the Unknown Tort Claim Reserve Fund in the amount provided for
         in the Unknown Claims Representative's Report and Recommendation, which is attached
         as Exhibit A. The Reorganized Debtor shall maintain the Unknown Tort Claim Reserve
         Fund until the later of (i) fifteen days after the Reorganized Debtor provides written notice
         to the Trustee that the Unknown Tort Claim Reserve Fund has been exhausted or (ii) the
         occurrence of the sixth (6th) anniversary of the Effective Date.

        6.3    TAX MATTERS. The Trust shall not be deemed to be the same legal entity as the
Diocese, but only the assignee of certain assets of the Diocese and a representative of the Estate
for delineated purposes within the meaning of Section 1123(b)(3) of the Bankruptcy Code. The
Trust is expected to be tax exempt. The Trustee shall file such income tax and other returns and
documents as are required to comply with the applicable provisions of the Internal Revenue Code
of 1986, 26 U.S.C. §§ 1 et seq., as may be amended, and the regulations promulgated thereunder,
31 C.F.R. §§ 900 et seq., and Minnesota law and the regulations promulgated thereunder, and shall
pay from the Trust all taxes, assessments, and levies upon the Trust, if any.

        6.4     APPOINTMENT OF THE TRUSTEE. The initial Trustee has been identified in
Exhibit D to this Plan. The Trustee shall commence serving as the Trustee on the Confirmation
Date; provided, however, that the Trustee shall be permitted to act in accordance with the terms of
the Trust Agreement from such earlier date, as authorized by the Diocese and the UCC, and shall
be entitled to seek compensation in accordance with the terms of the Trust Agreement and the
Plan.

         6.5      RIGHTS AND RESPONSIBILITIES OF TRUSTEE.


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                 (a)     The Trustee shall be deemed the Estate’s representative in accordance with
         Section 1123 of the Bankruptcy Code and shall have all the rights, powers, authority,
         responsibilities, and benefits specified in the Plan and the Trust Agreement, including the
         powers of a trustee under Sections 704, 108 and 1106 of the Bankruptcy Code and
         Bankruptcy Rule 2004 (including commencing, prosecuting or settling Causes of Action,
         enforcing contracts, and asserting Claims, defenses, offsets and privileges). If there is any
         inconsistency or ambiguity between the Confirmation Order and the Trust Agreement with
         respect to Trustee’s authority to act, the provisions of the Trust Agreement shall control.
         Among other things, the Trustee: (1) shall liquidate and convert to cash the Trust Assets,
         make timely distributions and not unduly prolong the duration of the Trust; (2) may request
         an expedited determination of taxes of the Trust under Section 505(b) of the Bankruptcy
         Code for all returns filed for, or on behalf of, the Trust for all taxable periods through the
         dissolution of the Trust; and (3) may retain professionals, including legal counsel,
         accountants, financial advisors, auditors, and other agents on behalf of the Trust, and at the
         Trust’s sole expense, as reasonably necessary and to carry out the obligations of the Trustee
         hereunder and under the Trust Agreement.

                (b)      Notwithstanding the foregoing, the Diocese, the Reorganized Debtor, and
         the Trust acting for itself and on behalf the Estate, shall be deemed to have waived, effective
         upon the Effective Date:

                          (1)    Any and all Claims under Sections 547, 548, 549 and 550 of the
                  Bankruptcy Code for the recovery of any sums paid to any Person who provided
                  goods and services to the Diocese in the ordinary course of business prior to the
                  Effective Date;

                          (2)     Any and all Claims and Causes of Action: (i) seeking the substantive
                  consolidation of the Diocese and any other Person or an order deeming any such
                  Person and the Diocese to be an “alter-ego” of the other or any other similar Claim
                  or Cause of Action; (ii) to avoid, set aside or recover any payment or other transfer
                  made to any Person under Sections 547, 548, 549, and 550 of the Bankruptcy Code;
                  and (iii) any proceeding to avoid or set aside any interest of a Person in property
                  under Section 544 of the Bankruptcy Code.

        The Confirmation Order shall state that, absent permission of the Bankruptcy Court, no
judicial, administrative, arbitral, or other action or proceeding shall be commenced in any forum
other than the Bankruptcy Court against the Trustee in its official capacity, with respect to its
status, duties, powers, acts, or omissions as Trustee.

         6.6      SPECIAL DISTRIBUTION CONDITIONS.

                 (a)    With respect to Class 3 Claims only, the Trust shall maintain sufficient funds
         to pay any potential reimbursements to Medicare and shall complete the following
         “Medicare Procedures”: (i) the Trustee shall determine whether each Tort Claimant with a
         Date of Injury after December 5, 1980 is eligible to receive, is receiving, or has received
         Medicare benefits (“Medicare Eligible”); (ii) upon request, the Trust shall provide to a
         Settling Insurer or the Diocese information sufficient to allow them to perform their own


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         SSA queries to the extent they wish to do so; (iii) in the event that one or more Tort
         Claimants with Dates of Injury after December 5, 1980 is/are identified as Medicare
         Eligible, the Trust shall complete a query to the CMS for each such Tort Claimant to
         determine whether any payment (“Conditional Payment”) made pursuant to Section
         1395y(b)(2)(B) of the MSPA has been made to or on behalf of that Tort Claimant arising
         from or relating to treatment for Abuse; (iv) if any Conditional Payment has been made to
         or on behalf of that Tort Claimant, the Trustee shall, within the time period called for by
         the MSPA, reimburse the appropriate Medicare Trust Fund for the appropriate amount, and
         submit the required information for that Tort Claimant to the appropriate agency of the
         United States government.

                 (b)    Compliance with the provisions of this Section 6.6 shall be a material
         obligation of the Trust in favor of the Settling Insurers under any settlement agreements
         between any of those insurers and Diocese, which authorizes funding to the Trust.

                (c)     With the exception of Unknown Tort Claims, the Trust shall defend,
         indemnify and hold harmless the Protected Parties and the Settling Insurer Entities from
         any Medicare Claims, and any Claims related to the Trust’s obligations under this Section.
         The Reorganized Debtor shall defend, indemnify, and hold harmless the Protected Parties
         and the Settling Insurer Entities from any Claims concerning the Unknown Tort Claims,
         including Medicare Claims.

       6.7     INVESTMENT POWERS; PERMITTED CASH EXPENDITURES. All funds
held by the Trust shall be invested in cash or short-term highly liquid investments that are readily
convertible to known amounts of cash as more particularly described in the Trust Agreement. The
Trustee may expend the cash of the Trust.

        6.8      REGISTRY OF BENEFICIAL INTERESTS. To evidence the beneficial interest
in the Trust of each holder of such an interest, the Trustee shall maintain a registry of beneficiaries.

       6.9      NON-TRANSFERABILITY OF INTERESTS. Any transfer of an interest in the
Trust shall not be effective until and unless the Trustee receives written notice of such transfer.

        6.10 TERMINATION. The Trust shall terminate after its liquidation, administration,
and distribution of the Trust Assets in accordance with the Plan and its full performance of all
other duties and functions set forth herein or in the Trust Agreement. The Trust shall terminate no
later than the sixth (6th) anniversary of the Effective Date.

         6.11     IMMUNITY; LIABILITY; INDEMNIFICATION.

                  (a)     Neither the Reorganized Debtor or its respective members, designees, or
         professionals, nor the Trustee or any duly designated agent or representative of the Trustee,
         nor their respective employees, shall be liable for the acts or omissions of any other
         member, designee, agent, or representative of such Trustee, except that the Trustee shall be
         liable for its specific acts or omissions resulting from such Trustee’s misconduct, gross
         negligence, fraud, or breach of the fiduciary duty of loyalty. The Trustee may, in connection
         with the performance of its functions and in its sole and absolute discretion, consult with
         its attorneys, accountants, financial advisors, and agents, and shall not be liable for any act

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         taken, omitted to be taken, or suffered to be done in accordance with advice or opinions
         rendered by such Persons. Notwithstanding such authority, the Trustee shall not be under
         any obligation to consult with its attorneys, accountants, financial advisors, or agents, and
         its determination not to do so shall not result in the imposition of liability on the Trustee
         unless such determination is based on the Trustee’s recklessness, gross negligence, willful
         misconduct, or fraud.

                  (b)    No recourse shall ever be had, directly or indirectly, against the Trustee
         personally, or against any employee, contractor, agent, attorney, accountant, or other
         professional retained in accordance with the terms of the Trust Agreement or the Plan by
         the Trustee, by legal or equitable proceedings or by virtue of any statute or otherwise, nor
         upon any promise, contract, instrument, undertaking, obligation, covenant or Trust
         Agreement whatsoever executed by the Trustee in implementation of this Trust Agreement
         or the Plan, or by reason of the creation of any indebtedness by the Trustee under the Plan
         for any purpose authorized by the Trust Agreement or the Plan, it being expressly
         understood and agreed that all such liabilities, covenants, and Trust Agreements of the Trust
         whether in writing or otherwise, shall be enforceable only against and be satisfied only out
         of the Trust Assets or such part thereof as shall under the term of any such Trust Agreement
         be liable therefore or shall be evidence only of a right of payment out of the Trust Assets.
         Notwithstanding the foregoing, the Trustee may be held liable for its recklessness, gross
         negligence, willful misconduct, knowing and material violation of law, or fraud; and if
         liability on such grounds is established, recourse may be had directly against the Trustee.
         The Trust shall not be covered by a bond.

                 (c)      The Trust shall defend, indemnify, and hold the Trustee, its officers,
         directors, agents, representatives, and employees to the fullest extent that a corporation or
         trust organized under the laws of Minnesota entitled to indemnify and defend its directors,
         trustees, officers, and employees against any and all liabilities, expenses, Claims, damages
         or losses incurred by them in the performance of their duties hereunder.

                          (1)      Additionally, the Reorganized Debtor, and each of its respective
                  agents, who was or is a party, or is threatened to be made a party to any threatened
                  or pending judicial, administrative, or arbitrative action, by reason of any act or
                  omission of the Trust or Trustee or respective agents, with respect to: (i) the Chapter
                  11 case and any act or omission undertaken by them prior to the commencement
                  thereof, (ii) the assessment or liquidation of any Class 3 and Class 4 Claims, (iii)
                  the administration of the Trust and the implementation of the Trust Distribution
                  Plan, or (iv) any and all activities in connection with the Trust Agreement, shall be
                  indemnified and defended by the Trust, to the fullest extent that a corporation or
                  trust organized under the laws of Minnesota is from time to time entitled to
                  indemnify and defend its officers, directors, trustees, and employees, against
                  reasonable expenses, costs and fees (including attorneys’ fees and costs),
                  judgments, awards, amounts paid in settlement and liabilities of all kinds incurred
                  by the Debtor or Reorganized Debtor, and their respective professionals, officers,
                  and directors, in connection with or resulting from such action, suit or proceeding,
                  provided such expenditures have been approved by the Trust in advance such
                  approval not to be unreasonably withheld.

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                          (2)     Reasonable expenses, costs, and fees (including attorneys’ fees and
                  costs) incurred by or on behalf of a Trustee, the Debtor, the Reorganized Debtor,
                  and their respective agents in connection with any action, suit, or proceeding,
                  whether civil, administrative, or arbitrative, from which they are entitled to be
                  indemnified by the Trust, shall be paid by the Trust in advance of the final
                  disposition thereof upon receipt of an undertaking, by or on behalf of such Trustee,
                  the Debtor, the Reorganized Debtor, and their respective agents, to repay such
                  amount in the event that it shall be determined ultimately by Non-Appealable Order
                  that such Trustee, the Debtor, the Reorganized Debtor, and their respective
                  professionals, officers, and directors is not entitled to be indemnified by the Trust.

         6.12     TREATMENT OF TORT CLAIMS.

                 (a)     TRUST LIABILITY. On the Effective Date, the Trust shall automatically
         and without further act or deed assume: (i) all liability, if any, of the Protected Parties and
         Settling Insurer Entities in respect of Channeled Claims, subject to Section 16.5; and (ii)
         the responsibility for preserving and managing Trust Assets and distributing Trust Assets.

                  (b)      ASSESSMENT.

                           (1)     Each Tort Claim will be assessed by the Tort Claims Reviewer in
                  accordance with the Trust Distribution Plan to determine whether the Tort Claimant
                  is entitled to a distribution under the Trust. The Diocese or the Reorganized Debtor
                  shall reasonably cooperate with the Tort Claims Reviewer and the Trustee as
                  requested by the Tort Claims Reviewer or the Trustee in connection with any
                  inquiries by either in the administration of the Trust Distribution Plan.

                         (2)     Each Tort Claimant may elect, in lieu of assessment by the Tort
                  Claims Reviewer, to have his Tort Claim treated pursuant to the convenience Claim
                  process as provided by the Trust Distribution Plan (“Convenience Claim”).

                 (c)     DISTRIBUTIONS TO TORT CLAIMANTS. A Tort Claimant electing to
         be treated as a Distribution Plan Claimant, and who the Tort Claims Reviewer determines
         to be entitled to a distribution, will receive a distribution from the Trust in the amount(s)
         and at the time(s) provided for in the Trust Distribution Plan. Any payment on a Tort Claim
         constitutes payment for damages on account of personal physical injuries or sickness
         arising from an occurrence, within the meaning of Section 104(a)(2) of the Internal
         Revenue Code of 1986, as amended. For the avoidance of doubt, Tort Claimants’ recovery
         on their Class 3 Claims shall be limited to the distributions they are entitled to, if any, from
         the Trust under the Trust Distribution Plan, and they shall not be entitled to collect
         personally or otherwise any additional amounts whatsoever on their Tort Claims from any
         Protected Party or any Protected Party’s assets, or from any Settling Insurer Entities or
         Settling Insurer Entities’ assets, even if they are denied a distribution pursuant to the Trust
         Distribution Plan. For the avoidance of doubt, the Unknown Tort Claims Reserve Fund
         established and maintained by the Reorganized Debtor shall be the sole source of payment
         to Class 4 Claimants on account of Class 4 Claims. Tort Claimants’ recovery on their Class
         4 Claims shall be limited to the distributions they are entitled to, if any, from Reorganized


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         Debtor determined under the Trust Distribution Plan, and they shall not be entitled to
         collect personally or otherwise any additional amounts whatsoever on their Tort Claims
         from the Trust, any Protected Party (with the exception of the Reorganized Debtor), or any
         Protected Party’s assets (with the exception of the Reorganized Debtor), or from any
         Settling Insurer Entities or Settling Insurer Entities’ assets, even if they are denied a
         distribution pursuant to the Trust Distribution Plan.

                 (d)    DISMISSAL OF PENDING LITIGATION. Within 21 days after
         Effective Date, all Claims arising out of, or related to, Tort Claims asserted in any lawsuit
         against any Protected Party currently pending in state court shall be dismissed with
         prejudice and without fees or costs being recoverable against any Protected Party or by any
         Protected Party against the Tort Claimant.

                 (e)    RELEASE. Prior to any Class 3 claimant receiving a payment from the
         Trust, the claimant shall sign the Release attached as Exhibit E. Prior to any Class 4
         claimant receiving a payment from the Reorganized Debtor, the claimant shall sign the
         Release attached as Exhibit F.

                 (f)     OBJECTIONS DEEMED WITHDRAWN. Any objection asserted by the
         Diocese to a Tort Claim pending as of the Effective Date is deemed withdrawn without
         prejudice. Whether and the extent to which any Settling Insurer who filed an objection
         prior to the Effective Date is entitled to have filed such objection and to continue to assert
         such objection after the Effective Date shall be determined by the Bankruptcy Court in
         accordance with applicable procedures.

                 (g)      OBJECTIONS AND LITIGATION AFTER THE EFFECTIVE DATE.
         As of the Effective Date, the Trustee shall have the sole and exclusive right to object to
         Class 3 Claims. The Reorganized Debtor shall have no right to object to any Class 3 Claims
         after confirmation of the Plan. The Trust and the Reorganized Debtor shall each have the
         right to object to any Class 4 Claims after confirmation of the Plan.

                 (h)    CLAIM WITHDRAWAL. A Tort Claimant may withdraw his or her Tort
         Claim at any time on written notice to the Trustee. If withdrawn, (a) the Tort Claim will be
         withdrawn with prejudice and may not be reasserted, and such Tort Claimant shall still be
         subject to the Discharge Injunction, the Channeling Injunctions, and the Supplemental
         Insurer Injunction as provided by this Plan; and (b) any reserve maintained by the Trust on
         account of such Tort Claim shall revert to the Trust as a Trust Asset for distribution in
         accordance with the Plan and Trust Distribution Plan.

                                         ARTICLE VII
                                      SETTLING INSURERS

        7.1      INSURANCE SETTLEMENT AGREEMENTS. The Insurance Settlement
Agreements shall automatically be, and hereby are, incorporated by reference and made part of the
Plan as if set forth fully herein. Upon the Confirmation Order becoming a Non-Appealable Order,
the Insurance Settlement Agreements are fully binding on the Trust, Protected Parties, the
Reorganized Debtor, the UCC, Settling Insurer Entities, the Unknown Claims Representative, the


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Tort Claimants, and parties in interest, and any of the foregoing Persons’ successors. The Insurance
Settlement Agreements shall survive the confirmation, effectiveness, and consummation of the
Plan.

        7.2      SALE FREE AND CLEAR OF INTERESTS OF SETTLING INSURER
ENTITY POLICIES. To the extent provided in each of the Diocese Insurance Settlement
Agreements and effective on the later of (i) the Effective Date of the Plan or (ii) the payment by
the Settling Insurer of settlement payment due under such agreement, each and every Settling
Insurer Entity Policy shall be sold to the issuing Settling Insurer pursuant to Sections 105, 363,
and 1123 of the Bankruptcy Code, free and clear of all liens, Claims and Interests of all Diocese
Parties, Parish Parties, and Tort Claimants; provided, however, that the certificates of insurance
issued by Catholic Mutual to the Diocese shall not be sold. As set forth in the Diocese Insurance
Settlement Agreements and the corresponding Approval Orders, the Settling Insurers are good
faith purchasers of such insurance policies and certificates of insurance within the meaning of
Section 363(m) of the Bankruptcy Code, the consideration exchanged constitutes a fair and
reasonable settlement of the Parties’ disputes and of their respective rights and obligations relating
to each such Settling Insurer Entity Policy and constitutes reasonably equivalent value, the releases
in such Diocese Insurance Settlement Agreements and the policy buyback comply with the
Bankruptcy Code and applicable non-bankruptcy laws, and each such Settling Insurer Entity
Policy shall be terminated and be of no further force and effect with the issuing Settling Insurer
having fully and completely performed any and all obligations under each such Settling Insurer
Entity Policy, including any performance owed to the Diocese Entities and Parish Entities, and all
limits of liability of each such Settling Insurer Entity Policy shall be exhausted.

        7.3    RESOLUTION OF CLAIMS INVOLVING SETTLING INSURERS. The
Confirmation Order shall provide that within 20 days of the Effective Date, the Diocese and the
Diocesan Settling Insurers shall effect dismissal with prejudice of their Claims against each other
in the Insurance Coverage Adversary Proceeding, with each side to bear its own fees and costs.

        7.4    THE SETTLING INSURERS’ PAYMENTS. With the exception of Fireman's
Fund (which has already complied with its Settlement Agreement by paying its Settlement Amount
directly to the Diocese), the Settling Insurers will pay to the Trust the sums set forth in their
respective Insurance Settlement Agreements within the time set forth in their respective Insurance
Settlement Agreements.

         7.5      JUDGMENT REDUCTION.

                 (a)     In any proceeding, suit, or action to recover or obtain insurance coverage or
         proceeds for a Tort Claim from an insurer that is not a Settling Insurer Entity (“Other
         Insurer”), the following shall apply: If the Trust, a Protected Party, a Tort Claimant, or any
         other Person bound by the Plan obtains a judgment against the Other Insurer, the judgment
         shall automatically be reduced by the amount, if any, that all Settling Insurer Entities would
         have been liable to pay such Other Insurer as a result of the Other Insurer’s Related
         Insurance Claim against one or more Settling Insurer Entities. To ensure that such a
         reduction is accomplished, (a) the Person pursuing the Related Insurance Claim (whether
         the Trust, the Protected Parties, a Tort Claimant, or any other Person bound by the Plan)
         shall inform the Other Insurer of the existence of this judgment reduction provision at the

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         time a Claim is first asserted against the Other Insurer; (b) the Other Insurer’s Related
         Insurance Claim against a Settling Insurer Entity may be asserted as a defense in any
         proceeding, suit, or action to obtain insurance coverage or proceeds from that Other Insurer
         for a Tort Claim; and (c) to the extent the Other Insurer’s Related Insurance Claim against
         a Settling Insurer Entity is determined to be valid by the court presiding over such action,
         the liability of the Other Insurer shall be reduced dollar for dollar by the amount so
         determined.

                 (b)     As provided in the Insurance Settlement Agreements, each Settling Insurer
         Entity agrees that it will not pursue any Related Insurance Claim that it might have against
         any Other Settling Insurer Entity that does not assert a Related Insurance Claim against a
         corresponding Settling Insurer Entity. Notwithstanding the foregoing, if a Person pursues
         a Related Insurance Claim against a Settling Insurer Entity, then such Settling Insurer
         Entity shall be free to assert its Related Insurance Claims against such Person.

                 (c)     As provided in the Insurance Settlement Agreements, the Reorganized
         Debtor and the Trust shall use their best efforts to obtain, from all Other Insurers, if any,
         with which they execute a settlement agreement after the Effective Date, agreements
         similar to those contained in this Section.

        7.6     FURTHER ASSURANCES; NON-MATERIAL MODIFICATIONS. From and
after the Effective Date, the Reorganized Debtor and the Settling Insurers shall be authorized to
enter into, execute, adopt, deliver, or implement all notes, contracts, security agreements,
instruments, releases, and other agreements or documents necessary to effectuate or memorialize
the settlements contained in this Article without further order of the Bankruptcy Court. Subject to
the reservation of consent rights in Sections 16.7 and 16.8, the Reorganized Debtor and the Settling
Insurers may make technical or immaterial alterations, amendments, modifications, waivers, or
supplements to the terms of any Insurance Settlement Agreement. A class of Claims that has
accepted the Plan shall be deemed to have accepted the Plan, as altered, amended, modified, or
supplemented under this Section, if the proposed alteration, amendment, modification, or
supplement does not materially and adversely change the treatment of the Claims within such class.
An order of the Bankruptcy Court approving any amendment or modification made pursuant to
this Section shall constitute an order in aid of consummation of the Plan and shall not require the
re-solicitation of votes on the Plan.

         7.7      INDEMNIFICATION OBLIGATIONS.

                  (a)    From and after the Effective Date, the Trust shall defend, indemnify, and
         hold harmless the Settling Insurer Entities with respect to any and all Tort Claims (other
         than Unknown Tort Claims), Medicare Claims, and Related Insurance Claims, including:
         all Tort Claims (other than Unknown Tort Claims) and Related Insurance Claims made by
         (i) any Person claiming to be insured (as a named insured, additional insured, or otherwise)
         under any Settling Insurer Entity Policies; (ii) any Person who has made, will make, or can
         make a Tort Claim (other than an Unknown Tort Claim) or Related Insurance Claim; and
         (iii) any Person who has actually or allegedly acquired or been assigned the right to make
         a Claim (other than an Unknown Tort Claim) under any Settling Insurer Entity Policies.



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                 (b)     The Reorganized Debtor shall defend, indemnify, and hold harmless the
         Settling Insurer Entities with respect to any and all Tort Claims subject to the limitations
         set forth in the Diocesan Insurance Settlement Agreements. The Settling Insurer Entities
         shall have the right to defend any Claims identified in this section and shall do so in good
         faith.

                 (c)     The indemnification obligations of the Trust and the Reorganized Debtor
         includes Tort Claims made by Persons over whom the Diocese or Diocesan Parishes do not
         have control, including any other Person who asserts Tort Claims against or right to
         coverage under the Settling Insurer Entity Policies. The Settling Insurer Entities may
         undertake the defense of any Claim on receipt of such Claim without affecting such
         indemnification obligations. The Settling Insurer Entities shall notify the Trust or the
         Reorganized Debtor, as applicable, as soon as practicable of any Claims identified in this
         section and of their choice of counsel. The Settling Insurer Entities’ defense of any Claims
         shall have no effect on the obligations of the Trust or the Reorganized Debtor, as applicable,
         to indemnify the Settling Insurer Entities for such Claims, as set forth in this section. The
         Trust or Reorganized Debtor, as applicable, is not obligated to indemnify the Settling
         Insurer Entities for Claims that are or may be made against the Settling Insurer Entities by
         other insurers. The obligation of the Trust or Reorganized Debtor, as applicable, to
         indemnify the Settling Insurer Entity under this Section 7.7 shall not exceed the Settlement
         Amount set forth in the Settlement Agreement payable by the corresponding Settling
         Insurer. Subject to the limitations above concerning the maximum amounts the
         indemnifying party must pay, the Trust shall reimburse all reasonable attorneys’ fees,
         expenses, costs, and amounts incurred by the Settling Insurer Entities in defending such
         Claims (other than Unknown Tort Claims), and the Reorganized Debtor shall reimburse all
         reasonable attorney's fees, expenses, costs and amounts incurred by the Settling Insurer
         Entities in defending Tort Claims. In defense of any such Claims, the Settling Insurer
         Entities may settle or otherwise resolve a Claim consistent with the terms of this Plan and
         with the prior consent of the indemnifying party, which consent shall not be unreasonably
         withheld.

         7.8      WAIVER/ CONSENT/ FEES.

                (a)     In consideration of the releases and Channeling Injunction, the
         Supplemental Settling Insurer Injunction, and other covenants set forth herein, subject to
         the occurrence of the Effective Date, each of the Diocese Parties:

                          (1)    Irrevocably and unconditionally, without limitation, releases, acquit,
                  forever discharge, and waive any Claims and/or Interests they have or might have
                  now or in the future against the other Protected Parties, the Reorganized Debtor,
                  and the Settling Insurer Entities with respect to any and all Related Insurance
                  Claims, any contribution, subrogation, indemnification, or other similar Claim
                  arising from or relating to Tort Claims, and any Settling Insurer Entity Policies; and

                         (2)    Consent to the sale of Diocese Parties’ Claims and/or Interests, if
                  any, in the Settling Insurer Entity Policies in accordance with this Insurance



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                  Settlement Agreements and to the contribution of the proceeds from such sale and
                  settlement to the Trust, as provided in the Plan.

                (b)     In consideration of the releases and Channeling Injunction and other
         covenants set forth herein, subject to the occurrence of the Effective Date, each of the
         Catholic Entities:

                          (1)     Irrevocably and unconditionally, without limitation, releases,
                  acquits, forever discharges, and waives any Interests they have or might have now
                  or in the future against the other Protected Parties, the Reorganized Debtor, and the
                  Settling Insurer Entities with respect to any and all Related Insurance Claims, any
                  contribution and indemnity Claims arising from or relating to Tort Claims, and any
                  Settling Insurer Entity Policies; and

                         (2)      Consents to the sale of such Catholic Entity’s interests, if any, in the
                  Diocese Settling Insurer Entity Policies in accordance with the Diocese Insurance
                  Settlement Agreements and to the contribution of the proceeds from such sales and
                  settlements to the Trust, as provided in the Plan.

                (c)     In consideration of the releases and Channeling Injunction and other
         covenants set forth herein, subject to the occurrence of the Effective Date, each of the Other
         Insured Entities:

                          (1)     Irrevocably and unconditionally, without limitation, releases,
                  acquits, forever discharges, and waives any Interests they have or might have now
                  or in the future against the other Protected Parties, the Reorganized Debtor, and the
                  Settling Insurer Entities in connection with the Settling Insurer Entity Policies with
                  respect to any and all Related Insurance Claims, and any contribution and
                  indemnity Claims arising from or relating to Tort Claims; and

                          (2)   Consents to the sale of such Other Insured Entity’s Interests, if any,
                  in the Diocesan Settling Insurer Entity Policies in accordance with the applicable
                  Diocese Insurance Settlement Agreements and to the contribution of the proceeds
                  from such sales and settlements to the Trust, as provided in the Plan.

                 (d)     Nothing in Sections 7.8(a) through 7.8(c) shall be construed to bar either (a)
         a Claim based on Abuse against a Person who is not a Protected Party or a Settling Insurer
         Entity or (b) a Claim by such Person for insurance coverage in connection with a Claim
         described in the foregoing subsection (a) under an insurance policy other than the Settling
         Insurer Entity Policies. The indemnifications under Section 7.7(a) through 7.7(c) shall be
         in addition to the indemnification provided by the Diocese and Diocesan Parishes under
         the terms of the Insurance Settlement Agreements.

         7.9      SUPPLEMENTAL SETTLING INSURER INJUNCTION.

                (a)    Supplemental Injunction Preventing Prosecution of Claims Against
         Settling Insurer Entities. Pursuant to Sections 105(a) and 363 of the Bankruptcy Code
         and in consideration of the undertakings of the Settling Insurers pursuant to the

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         Insurance Settlement Agreements, including the Settling Insurers’ purchases of
         insurance policies or Interests in insurance policies from the Diocese, Other Insured
         Entities, and Catholic Entities pursuant to Section 363(f) of the Bankruptcy Code:

                 (b)    With the exception of the rights against the Reorganized Debtor
         retained by the holders of the Unknown Tort Claims, any and all Persons who have
         held, now hold or who may in the future hold any Interests (including all debt holders,
         all equity holders, governmental, tax and regulatory authorities, lenders, trade and
         other creditors, Tort Claimants, perpetrators, other insurers, and all others holding
         Interests of any kind or nature whatsoever, including those Claims released or to be
         released pursuant to the Insurance Settlement Agreements) against any of the
         Protected Parties, the Settling Insurer Entities, or any other Person covered or
         allegedly covered under the Settling Insurer Entity Policies, which directly or
         indirectly arise from, relate to, or are in connection with any Tort Claims that are
         covered or alleged to be covered under the Settling Insurer Entity Policies, or any
         Related Insurance Claims related to such Tort Claims are hereby permanently stayed,
         enjoined, barred, and restrained from taking any action, directly or indirectly, to
         assert, enforce or attempt to assert or enforce any such Interest against the Settling
         Insurer Entities, the Settling Insurer Entity Policies, or Protected Parties to the extent
         such Interests arise from the same injury or damages asserted in connection with a
         Tort Claim including:

                        (1)     Commencing or continuing in any manner any action or other
                  proceeding against the Settling Insurer Entities or the Protected Parties or the
                  property of the Settling Insurer Entities or Protected Parties;

                         (2)     Enforcing, attaching, collecting, or recovering, by any manner
                  or means, any judgment, award, decree or order against the Settling Insurer
                  Entities or Protected Parties or the property of the Settling Insurer Entities or
                  Protected Parties;

                         (3)     Creating, perfecting, or enforcing any lien of any kind against
                  the Settling Insurer Entities or Protected Parties or the property of the Settling
                  Insurer Entities or Protected Parties;

                         (4)    Asserting or accomplishing any setoff, right of indemnity,
                  subrogation, contribution, or recoupment of any kind against any obligation
                  due the Settling Insurer Entities or Protected Parties or the property of the
                  Settling Insurer Entities or Protected Parties; and

                         (5)    Taking any action, in any manner, in any place whatsoever, that
                  does not conform to, or comply with, the provisions of the Plan.

                (c)    All Claims described in this Section 7.9, except for the rights of holders
         of Class 4 Claims, Class 5 Claims, and Class 6B Claims against the Reorganized
         Debtor, shall be channeled to the Trust. This injunction shall not apply to any
         reinsurance Claim.


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        7.10 PERMANENT INJUNCTION AGAINST PROSECUTION OF RELEASED
AND CHANNELED CLAIMS. Except as otherwise expressly provided in this Plan, for the
consideration described in the Insurance Settlement Agreements, all Persons who have held,
hold, or may hold Channeled Claims or Claims against the Diocese Parties, the Protected
Parties, or the Settling Insurance Entities, whether known or unknown, will be permanently
enjoined on and after the Effective Date from: (a) commencing or continuing in any manner,
any action or any other proceeding of any kind, including, but not limited to, any Tort Claim
or any Unknown Tort Claim against the Settling Insurance Entities or the property of the
Settling Insurance Entities with respect to any Claim or Channeled Claim; (b) seeking the
enforcement, attachment, collection or recovery by any manner or means of any judgment,
award, decree, or order against the Settling Insurance Entities or the property of the Settling
Insurance Entities, with respect to any Claim or Channeled Claim; (c) creating, perfecting,
or enforcing any encumbrance of any kind against the Settling Insurance Entities or the
property of the Settling Insurance Entities with respect to any Claim or Channeled Claim;
(d) asserting any setoff, right of subrogation, or recoupment of any kind against any
obligation due to the Settling Insurance Entities with respect to any Claim or Channeled
Claim; and (e) taking any act, in any manner and in any place whatsoever, that does not
conform to or comply with provisions of this Plan or any documents relating to the Plan,
including, the Trust Agreement. The foregoing injunctive provisions are an integral part of
this Plan and are essential to its implementation.

        7.11 INSURANCE INJUNCTIONS. All injunctions and/or stays provided for in the
Plan, the injunctive provisions of Sections 524 and 1141 of the Bankruptcy Code, and all
injunctions or stays protecting any Settling Insurer Entity that has purchased its policies of
insurance or certificates of insurance, free and clear of all liens, Claims, and Interests pursuant to
Sections 105, 363, and 1123 of the Bankruptcy Code, are permanent and will remain in full force
and effect following the Effective Date of the Plan and are not subject to being vacated or modified.
The injunctions and releases contained in the Plan shall control notwithstanding any other
provision in the Plan or in any Insurance Settlement Agreement.

        7.12 DEBTOR WAIVER AND RELEASE OF CLAIMS. In consideration of any
payments to be made by the Diocesan Settling Insurers and other consideration provided by each
Diocesan Settling Insurer, upon payment by the Diocesan Settling Insurers of their respective
settlement amounts under the corresponding Diocese Insurance Settlement Agreements, the
Diocese Parties irrevocably and unconditionally, without limitation, release, acquit, forever
discharge, and waive any Interests they have or might have now or in the future (a) under the
Settling Insurer Entity Policies to the extent those Settling Insurer Entity Policies are bought back
under any Insurance Settlement Agreement and this Plan; (b) against the Settling Insurer Entities
with respect to any Tort Claim; and (c) against the Catholic Entities and Other Insured Entities
with respect to any Channeled Claim.

          7.13    PROTECTED PARTY INJUNCTION DEFENSE COSTS. Subject to Section
7.7(b):

                  (a)     The Trust will indemnify any Protected Party and Settling Insurer Entity for
          all reasonable attorneys’ fees and costs incurred by such Protected Party or Settling Insurer
          Entity in upholding, defending, or enforcing the protection of the Channeling Injunction

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         and Supplemental Settling Insurer Injunction, except as to Covered Non-Tort Claims and
         the Unknown Tort Claims.

                 (b)     The Reorganized Debtor will indemnify any Protected Party and Settling
         Insurer Entity for all reasonable attorneys' fees and costs incurred by such Protected Party
         or Settling Insurer Entity in upholding, defending, or enforcing the protection of the
         Channeling Injunction and Supplemental Settling Insurer Injunction as to Tort Claims.

                                         ARTICLE VIII
                                   ESTIMATIONS/ASSESSMENTS

       8.1    ESTIMATIONS/ASSESSMENTS ARE NOT BINDING. Estimations of Class 3
Claims for purposes of voting, and the determination of qualification, assignment of points, and
payment of distributions of Tort Claims under the Trust Distribution Plan:

                 (a)     shall not (i) constitute an admission of liability by any Person with respect
         to such Claims; (ii) have any res judicata or collateral estoppel effect on any Person; (iii)
         constitute a settlement, release, accord, satisfaction, or novation of such Claims; (iv) be
         used by any third-party as a defense to any alleged joint liability; or (v) otherwise prejudice
         any rights of the Trust, Protected Parties, Settling Insurer Entities, and Tort Claimants in
         all other contexts or forums;

                  (b)      shall not be deemed to constitute a determination of liability of any Person;
         and

                (c)    The rights of the parties under any Diocese Insurance Settlement
         Agreements shall be determined exclusively under the applicable Diocese Insurance
         Settlement Agreements and those provisions of the applicable Approval Order approving
         such Diocese Insurance Settlement Agreements, and the Confirmation Order.

                                           ARTICLE IX
                                       INSURANCE POLICIES

        9.1     CONTINUATION OF INSURANCE POLICIES. Except to the extent any
Diocese Entity Insurance Policies are bought back as set forth in and pursuant to any Insurance
Settlement Agreements or as otherwise provided by the terms of the Plan, all Diocese Entity
Insurance Policies shall, as applicable, either be deemed assumed by the Reorganized Debtor
pursuant to Sections 365, 1123(a)(5)(A), and 1123(b)(2) of the Bankruptcy Code, to the extent
such Diocese Entity Insurance Policy is or was an executory contract of the Diocese, or continued
in accordance with its terms pursuant to Section 1123(a)(5)(A) of the Bankruptcy Code, to the
extent such Insurance Policy is not an executory contract of the Diocese, such that each of the
parties’ contractual, legal, and equitable rights under each such Diocese Entity Insurance Policy
shall remain unaltered. All such Diocese Entity Insurance Policies are listed on Exhibit I. To the
extent that any or all such Diocese Entity Insurance Policies are considered to be executory
contracts, then the Plan shall constitute a motion to assume such Diocese Entity Insurance Policies
in connection with the Plan. Subject to the occurrence of the Effective Date, the Confirmation
Order shall approve such assumption pursuant to §§ 365(a), 1123(a)(5)(A), and 1123(b)(2) of the
Bankruptcy Code and include a finding by the Bankruptcy Court that each such assumption is in

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the best interest of the Debtor, the Estate, and all parties in interest in this Chapter 11 case. Unless
otherwise determined by the Bankruptcy Court pursuant to an order which becomes a Non-
Appealable Order or agreed to by the parties thereto prior to the Effective Date, no payments are
required to cure any defaults of the Diocese existing as of the Effective Date with respect to any
Diocese Entity Insurance Policy. The Diocese reserves the right to seek rejection of any Diocese
Entity Insurance Policy or other available relief prior to the Effective Date.

                                 ARTICLE X
                PROCEDURES FOR GENERAL CLAIMS ADMINISTRATION

        10.1 RESERVATION OF RIGHTS TO OBJECT TO NON-TORT CLAIMS. Unless
a Claim is expressly described as an allowed Claim pursuant to or under the Plan, or otherwise
becomes an allowed Claim prior to the Effective Date, upon the Effective Date, the Reorganized
Debtor or the Trustee, as applicable, shall be deemed to have a reservation of any and all rights,
Interests, and objections of the Diocese, the UCC, or the Estate to any and all Claims and motions
or requests for the payment of or on account of Claims, whether administrative expense, priority,
secured, or unsecured, including any and all rights, Interests and objections to the validity or
amount of any and all alleged Claims, Liens, and Interests, whether under the Bankruptcy Code,
other applicable law, or contract. The failure to object to any Claim in this Chapter 11 case shall
be without prejudice to the Reorganized Debtor’s or the Trustee’s, as applicable, right to contest
or otherwise defend against such Claim in the Bankruptcy Court as set forth in this Section when
and if such Claim is sought to be enforced by the holder of such Claim.

        10.2 OBJECTIONS TO NON-TORT CLAIMS. Prior to the Effective Date, the
Diocese shall have the authority to pursue any objection to the allowance of any non-Tort Claim.
From and after the Effective Date, the Reorganized Debtor or the Trustee, as applicable, will retain
responsibility for administering, disputing, objecting to, compromising, or otherwise resolving and
making distributions, if any, with respect to non-Tort Claims (including those Claims that are
subject to objection by the Diocese as of the Effective Date); provided, however, that nothing in
this Section shall affect the right of any party-in-interest (including the Reorganized Debtor and
the Trustee) to object to any non-Tort Claim to the extent such objection is otherwise permitted by
the Bankruptcy Code, the Bankruptcy Rules, and this Plan. Further, nothing in this Section shall
prohibit the Trustee from objecting to or establishing procedures for the allowance or treatment of
non-Tort Claims. Unless otherwise provided in the Plan or by order of the Bankruptcy Court, any
objections by the Reorganized Debtor or the Trustee to non-Tort Claims will be filed and served
not later than thirty (30) days after the later of: (i) the Effective Date, or (ii) the date such Claim is
filed. Such deadline or any Bankruptcy Court approved extension thereof, may be extended upon
request by the Reorganized Debtor or the Trustee by filing a motion without any requirement to
provide notice to any Person, based upon a reasonable exercise of the Reorganized Debtor’s or the
Trustee’s business judgment. A motion seeking to extend the deadline to object to any Claim shall
not be deemed an amendment to the Plan.

         10.3 DETERMINATION OF CLAIMS. From and after the Effective Date, any Claim
that is not a Tort Claim, and as to which a Proof of Claim or motion or request for payment was
timely filed in this Chapter 11 case, or deemed timely filed by order of the Bankruptcy Court, may
be determined and (so long as such determination has not been stayed, reversed, or amended, as to
which determination (or any revision, modification, or amendment thereof) the time to appeal or

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seek review or rehearing has expired, (and as to which no appeal or petition for review or rehearing
was filed or, if filed, remains pending)), liquidated pursuant to: (i) an order of the Bankruptcy
Court; (ii) applicable bankruptcy law; (iii) agreement of the parties without the need for
Bankruptcy Court approval; (iv) applicable non-bankruptcy law; or (v) the lack of (a) an objection
to such Claim, (b) an application to equitably subordinate such Claim, and (c) an application to
otherwise limit recovery with respect to such Claim, filed by the Diocese, the Reorganized Debtor,
or any other party in interest on or prior to any applicable deadline for filing such objection or
application with respect to such Claim. Any such Claim so determined and liquidated shall be
deemed to be an allowed Claim for such liquidated amount and shall be satisfied in accordance
with the Plan. Nothing contained in this Section shall constitute or be deemed a waiver of any
Claims, rights, Interests, or Causes of Action that the Debtor, the Reorganized Debtor or the Trust
may have against any Person in connection with or arising out of any Claim or Claims, including
any rights under 28 U.S.C. § 157.

        10.4 NO DISTRIBUTIONS PENDING ALLOWANCE. No payments or
distributions will be made with respect to a Disputed Claim, or any portion thereof, unless and
until all objections to such Disputed Claim have been settled or withdrawn or have been
determined by an order which has become a Non-Appealable Order, and the Disputed Claim has
become an allowed Claim.

        10.5 CLAIM ESTIMATION. To effectuate distributions pursuant to the Plan and avoid
undue delay in the administration of the Chapter 11 case, with respect to Disputed Claims, the
Diocese (if prior to the Effective Date) and the Reorganized Debtor or the Trustee (on and after
the Effective Date), after notice and a hearing (which notice may be limited to the holder of such
Disputed Claim), shall have the right to seek an order of the Bankruptcy Court or the District Court,
pursuant to Section 502(c) of the Bankruptcy Code, estimating or limiting the amount of: (i)
property that must be withheld from or reserved for distribution purposes on account of such
Disputed Claim(s), (ii) such Claim for allowance or disallowance purposes, or (iii) such Claim for
any other purpose permitted under the Bankruptcy Code; provided, however, that the Bankruptcy
Court or the District Court, as applicable, shall determine: (y) whether such Claims are subject to
estimation pursuant to Section 502(c) of the Bankruptcy Code, and (z) the timing and procedures
for such estimation proceedings, if any, such matters being beyond the scope of the Plan.

                                         ARTICLE XI
                                DISTRIBUTIONS UNDER THE PLAN

       11.1 PAYMENT DATE. Whenever any payment or distribution to be made under the
Plan shall be due on a day other than a business day, such payment or distribution shall instead be
made, without interest, on the immediately following business day.

        11.2 UNDELIVERABLE DISTRIBUTIONS. If payment or distribution to the holder
of an allowed non-Tort Claim under the Plan is returned for lack of a current address for the holder
or otherwise, the Reorganized Debtor or the Trustee, as applicable, shall file with the Bankruptcy
Court the name, if known, and last known address of the holder and the reason for its inability to
make payment. All allowed Claims paid as provided in this Section shall be deemed addressed to
the same extent as if payment or distribution had been made to the holder of the allowed Claim
with no recourse to the Reorganized Debtor or the Trustee, as applicable, or property of the

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Reorganized Debtor or the Trustee. If, after the passage of six (6) months, the payment or
distribution still cannot be made, the Reorganized Debtor or the Trustee, as applicable, shall make
the payment to the Trust. All allowed Claims paid as provided in this Section shall be deemed
satisfied and released, with no recourse to the Reorganized Debtor or the Trustee, as applicable, or
property of the Reorganized Debtor or the Trustee, as applicable, upon payment to the Trust, to
the same extent as if payment or distribution has been made to the holder of the allowed Claim.

        11.3 SETOFFS. The Reorganized Debtor or the Trustee, as applicable, may, to the
extent permitted under applicable law, set off against any allowed Claim and the distributions to
be made pursuant to the Plan on account of such allowed Claim, the Claims, rights and Causes of
Action of any nature that the Reorganized Debtor or the Trustee, as applicable, may hold against
the holder of such allowed Claim that are not otherwise waived, released or compromised in
accordance with the Plan; provided, however, that neither such a setoff nor the allowance of any
Claim hereunder shall constitute a waiver or release by the Reorganized Debtor or the Trustee, as
applicable, of any such Claims, rights, and Causes of Action that the Reorganized Debtor or the
Trustee, as applicable, possesses against such holder.

        11.4 NO INTEREST ON CLAIMS. Unless otherwise specifically provided for in the
Plan, the Confirmation Order, or a post-petition agreement in writing between a claimant and the
Diocese, the Reorganized Debtor, or the Trust, and approved by an order of the Bankruptcy Court,
postpetition interest shall not accrue or be paid on any Claim, and claimant shall not be entitled to
interest accruing on or after the Petition Date on any Claim. In addition, and without limiting the
foregoing or any other provision of the Plan, Confirmation Order, or Trust Agreement, interest
shall not accrue on or be paid on any Disputed Claim in respect of the period from the Effective
Date to the date a final distribution is made when and if such Disputed Claim becomes an allowed
Claim.

        11.5 WITHHOLDING TAXES. The Reorganized Debtor and the Trust shall comply
with all withholding and reporting requirements imposed by any federal, state, local, or foreign
taxing authority, and all distributions hereunder shall be subject to any such withholding and
reporting requirements. As a condition to making any distribution under the Plan, the Reorganized
Debtor and the Trust may require that the holder of an allowed Claim provide such holder’s
taxpayer identification number and such other information and certification as may be deemed
necessary to comply with applicable tax reporting and withholding laws.

                                       ARTICLE XII
                                EFFECTIVENESS OF THE PLAN

         12.1 CONDITIONS TO OCCURRENCE OF EFFECTIVE DATE. The Plan shall
not become effective unless and until each of the following conditions shall have been satisfied in
full in accordance with the provisions specified below:

              (a)    Entry of Confirmation Order. The Confirmation Order has become a
         Non-Appealable Order;

                (b)   Plan Documents. All Schedules and Exhibits to the Plan shall have been
         duly completed by the Plan Proponents and filed with the Court and all agreements and


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         releases referred to in the Plan shall have been duly executed by all parties thereto and filed
         with the Court, in each case in form and substance satisfactory to the Debtor, the
         Committee, and the Settling Insurers.

                  (c)      The Trust. The Trust shall have been formed; and

                  (d)     Debtor Payment. The payments discussed in Subsections 5.1(b)(2)(i) and
         (iii) shall have been received by the Trust.

        12.2 NOTICE OF EFFECTIVE DATE. The Plan Proponents shall file a Notice of
Effective Date with the Bankruptcy Court within three (3) days after the occurrence of the
Effective Date. Such notice will include all relevant deadlines put into effect by the occurrence of
the Effective Date.

        12.3 EFFECT OF NON-OCCURRENCE OF CONDITIONS. If substantial
consummation of the Plan does not occur, the Plan will be null and void in all respects and nothing
contained in the Plan or the disclosure statement will: (i) constitute a waiver or release of any
Claims by or against the Protected Parties or the Settling Insurer Entities; (ii) prejudice in any
manner the rights of the Protected Parties, the Trust or the Settling Insurer Entities; or (iii)
constitute an admission, acknowledgement, offer, or undertaking by the Protected Parties or the
Settling Insurer Entities in any respect, including but not limited to, in any proceeding or case
against the Debtor; or (iv) be admissible in any action, proceeding or case against the Protected
Parties or Settling Insurer Entities in any court or other forum.

                                         ARTICLE XIII
                                   EFFECTS OF CONFIRMATION

        13.1 DISSOLUTION OF UCC. On the Effective Date, the UCC shall dissolve
automatically, whereupon their members, Professionals and agents shall be released from any
further duties and responsibilities in this Chapter 11 case and under the Bankruptcy Code, except
that such parties shall continue to be bound by any obligations arising under confidentiality
agreements, joint defense/common interest agreements (whether formal or informal), and
protective orders entered during this Chapter 11 case, including any orders regarding
confidentiality issued by the Bankruptcy Court or mediator, which shall remain in full force and
effect according to their terms, provided that such parties shall continue to have a right to be heard
with respect to any and all applications for Professional Claims.

        13.2 DISCHARGE AND INJUNCTION. Except as otherwise expressly provided in
the Plan or in the Confirmation Order, on the Effective Date, pursuant to Section 1141(d) of the
Bankruptcy Code, the Diocese shall be discharged from any and all Claims that arose prior to the
Effective Date, including all Tort Claims and Related Insurance Claims, and including interest, if
any, on any of the foregoing, regardless of whether it is alleged to have accrued before or after the
Petition Date (each a “Discharged Claim”). For the avoidance of doubt, Discharged Claim includes
any disallowed Claim. All Persons who have held or asserted, hold or assert, or may in the future
hold or assert a Discharged Claim shall be permanently stayed, enjoined, and restrained from
taking any action, directly or indirectly, for the purposes of asserting, enforcing, or attempting to
assert or enforce any Discharged Claim, including: (i) commencing or continuing in any manner,


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any action or any other proceeding of any kind with respect to any Discharged Claim against the
Diocese, the Reorganized Debtor, or property of the Reorganized Debtor; (ii) seeking the
enforcement, attachment, collection, or recovery by any manner or means of any judgment, award,
decree, or order against the Diocese, the Reorganized Debtor, or property of the Reorganized
Debtor, with respect to any Discharged Claim; (iii) creating, perfecting, or enforcing any
encumbrance or lien of any kind against the Diocese, the Reorganized Debtor, or property of the
Reorganized Debtor with respect to any Discharged Claim; (iv) asserting any setoff right of
contribution, indemnity, subrogation, or recoupment of any kind against any obligation due to the
Reorganized Debtor with respect to any Discharged Claim; and (v) taking any action, in any
manner and in any place whatsoever, that does not conform to or comply with provisions of the
Plan. In the event any Person takes any action that is prohibited by, or is otherwise inconsistent
with the provisions of this injunction, the Plan or confirmation order, then, upon notice to the
Bankruptcy Court by an affected party, the action or proceeding in which the Claim of such Person
is asserted will automatically be transferred to the Bankruptcy Court or the District Court for
enforcement of the Plan. In a successful action to enforce the injunctive provisions of this Section
in response to a willful violation thereof the moving party may seek an award of costs (including
reasonable attorneys’ fees) against the non-moving party, and such other legal or equitable
remedies as are just and proper, after notice and a hearing. For the avoidance of doubt, nothing in
this Section 13.2 relieves the Reorganized Debtor of its obligations to Class 4 claimants contained
in Section 4.4 (which obligations are post-petition obligations and obligations of the Reorganized
Debtor under the terms of this Plan) until the later of (i) thirty days after the Reorganized Debtor
provides written notice to the Trustee that the Unknown Tort Claim Reserve Fund has been
exhausted or (ii) the occurrence of the sixth (6th) anniversary of the Effective Date.

      13.3 CHANNELING INJUNCTION. Channeling Injunction Preventing
Prosecution of Channeled Claims Against Protected Parties and Settling Insurer Entities.

                (a)    In consideration of the undertakings of the Protected Parties and
         Settling Insurer Entities under the Plan, their contributions to the Trust, and other
         consideration, and pursuant to their respective settlements with the Debtor and to
         further preserve and promote the agreements between and among the Protected
         Parties and any Settling Insurer Entities, and pursuant to Section 105 of the
         Bankruptcy Code:

                          (1)    any and all Channeled Claims are channeled into the Trust and
                  shall be treated, administered, determined, and resolved under the procedures
                  and protocols and in the amounts as established under the Plan and the Trust
                  Agreement as the sole and exclusive remedy for all holders of Channeled
                  Claims; and

                         (2)      all Persons who have held or asserted, hold or assert, or may in
                  the future hold or assert any Channeled Claims are hereby permanently
                  stayed, enjoined, barred and restrained from taking any action, directly or
                  indirectly, for the purposes of asserting, enforcing, or attempting to assert or
                  enforce any Channeled Claim against the Protected Parties or Settling Insurer
                  Entities, including:


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                                  (i)    commencing or continuing in any manner any action or
                           other proceeding of any kind with respect to any Channeled Claim
                           against any of the Protected Parties or Settling Insurer Entities or
                           against the property of any of the Protected Parties or Settling Insurer
                           Entities;

                                  (ii)    enforcing, attaching, collecting or recovering, by any
                           manner or means, from any of the Protected Parties or Settling Insurer
                           Entities, or the property of any of the Protected Parties or Settling
                           Insurer Entities, any judgment, award, decree, or order with respect to
                           any Channeled Claim against any of the Protected Parties, Settling
                           Insurer Entities;

                                  (iii) creating, perfecting or enforcing any lien of any kind
                           relating to any Channeled Claim against any of the Protected Parties
                           or the Settling Insurer Entities, or the property of the Protected Parties
                           or the Settling Insurer Entities;

                                 (iv)   asserting, implementing or effectuating any Channeled
                           Claim of any kind against:

                                         1.     any obligation due any of the Protected Parties or
                                  Settling Insurer Entities;

                                         2.      any of the Protected Parties or Settling Insurer
                                  Entities; or

                                         3.     the property of any of the Protected Parties or
                                  Settling Insurer Entities.

                                  (v)    taking any act, in any manner, in any place whatsoever,
                           that does not conform to, or comply with, the provisions of the Plan;
                           and

                                  (vi)    asserting or accomplishing any setoff, right of indemnity,
                           subrogation, contribution, or recoupment of any kind against an
                           obligation due to any of the Protected Parties, the Settling Insurer
                           Entities, or the property of the Settling Insurer Entities.

        The Channeling Injunction is an integral part of the Plan and is essential to the Plan’s
consummation and implementation. It is intended that the channeling of the Channeled
Claims as provided in this Section 13.3 shall inure to the benefit of the Protected Parties and
Settling Insurer Entities. In a successful action to enforce the injunctive provisions of this
Section in response to a willful violation thereof, the moving party may seek an award of
costs (including reasonable attorneys’ fees) against the non-moving party, and such other
legal or equitable remedies as are just and proper, after notice and a hearing.



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        13.4 EXCULPATION; LIMITATION OF LIABILITY. From and after the
Effective Date, none of the Exculpated Parties shall have or incur any liability for, and each
Exculpated Party shall be released from, any Claim, Cause of Action or liability to any other
Exculpated Party, to any holder of a Claim, or to any other party in interest, for any act or
omission that occurred during and in connection with this Chapter 11 case or in connection
with the preparation and Filing of this Chapter 11 case, the formulation, negotiation, or
pursuit of confirmation of the Plan, the consummation of the Plan, and the administration
of the Plan or the property to be distributed under the Plan, except for Claims, Causes of
Action or liabilities arising from the gross negligence, willful misconduct, fraud, or breach
of the fiduciary duty of loyalty of any Exculpated Party, in each case subject to determination
of such by Non-Appealable Order of a court of competent jurisdiction and provided that any
Exculpated Party shall be entitled to reasonably rely upon the advice of counsel with respect
to its duties and responsibilities (if any) under the Plan. Without limiting the generality of
the foregoing, the Committee and the Diocese and their respective officers, board and
committee members, employees, attorneys, financial advisors, and other Professionals shall
be entitled to and granted the benefits of Section 1125(e) of the Bankruptcy Code and the
Channeling Injunction.

        13.5 TIMING. The injunctions, releases, and discharges to which any Settling Insurer
Entity is entitled pursuant to such Insurance Settlement Agreement, the Plan, the Confirmation
Order, the Approval Orders, and the Bankruptcy Code shall only become effective when the Trust
receives payment in full from the corresponding Settling Insurer pursuant to the terms of such
Settling Insurer’s Insurance Settlement Agreement, and the other provisions set forth in Section
12.1 are fully met.

        13.6 NO BAR ON CERTAIN CLAIMS. Notwithstanding the foregoing, nothing in
this Article XIII shall be construed to bar either (a) a Claim based on Abuse against a Person who
is not a Protected Party or a Settling Insurer Entity or (b) a Claim by such Person for insurance
coverage in connection with a Claim described in the foregoing clause (a) under an insurance
policy other than the Settling Insurer Entity Policies.

                                 ARTICLE XIV
                 INCORPORATION OF CHILD PROTECTION PROTOCOLS

       14.1 CHILD PROTECTION PROTOCOLS. The Child Protection Protocols are
incorporated into the Plan.

                                         ARTICLE XV
                                   THE REORGANIZED DEBTOR

       15.1 CONTINUED CORPORATE EXISTENCE. The Diocese will, as the
Reorganized Debtor, continue to exist after the Effective Date as a separate entity in accordance
with Minn. Stat. Section 315.16 having tax-exempt status under 26 U.S.C. § 501(c)(3) under
applicable law and without prejudice to any right to alter or terminate such existence under
applicable state law, except as such rights may be limited and conditioned by the Plan and the
documents and instruments executed and delivered in connection therewith.



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        15.2 VESTING OF ASSETS. In accordance with Sections 1141 and 1123(a)(5) of the
Bankruptcy Code, and except as otherwise provided in the Plan or the Confirmation Order, the
Reorganization Assets shall vest in the Reorganized Debtor (or such other entity or entities
specified by the Debtor in a Supplemental Plan Document, and subject to approval by the
Bankruptcy Court at the confirmation hearing) on the Effective Date free and clear of all liens,
Claims, and Interests of creditors, including successor liability Claims. On and after the Effective
Date, the Reorganized Debtor may operate and manage its affairs and may use, acquire, and
dispose of property without notice to any Person, and without supervision or approval by the
Bankruptcy Court and free of any restrictions imposed by the Bankruptcy Code, Bankruptcy Rules,
or the Bankruptcy Court, other than those restrictions expressly imposed by the Plan or the
Confirmation Order.

        15.3 IDENTITY OF OFFICERS OF REORGANIZED DEBTOR. In accordance
with § 1129(a)(5) of the Bankruptcy Code, the identities and affiliations of the Persons proposed
to serve as the corporate Members of the Reorganized Debtor and the persons proposed to serve
as directors and officers of the Reorganized Debtor on and after the Effective Date are set forth on
Exhibit J.

       15.4 FURTHER AUTHORIZATION. The Reorganized Debtor shall be entitled to
seek such orders, judgments, injunctions, rulings, and other assistance as it deems necessary to
carry out the intentions and purposes, and to give full effect to the provisions, of the Plan.

                                        ARTICLE XVI
                                 MISCELLANEOUS PROVISIONS

         16.1     RETENTION OF JURISDICTION.

                 (a)    By the Bankruptcy Court. Pursuant to Sections 105, 1123(a)(5), and 1142(b)
         of the Bankruptcy Code, and 28 U.S.C. Sections 1334 and 157, on and after the Effective
         Date, the Bankruptcy Court shall retain: (i) original and exclusive jurisdiction over this
         Chapter 11 case, (ii) original, but not exclusive, jurisdiction to hear and determine all core
         proceedings arising under the Bankruptcy Code or arising in this Chapter 11 case, and (iii)
         original, but not exclusive, jurisdiction to hear and make proposed findings of fact and
         conclusions of law in any non-core proceedings related to this Chapter 11 case and the
         Plan, including matters concerning the interpretation, implementation, consummation,
         execution, or administration of the Plan. Subject to, but without limiting the generality of
         the foregoing, the Bankruptcy Court’s post-Effective Date jurisdiction shall include
         jurisdiction:

                           (1)   over disputes concerning the ownership of Claims;

                          (2)    over disputes concerning the distribution or retention of assets under
                  the Plan;

                        (3)      over objections to Claims, motions to allow late-filed Claims, and
                  motions to estimate Claims;



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                         (4)    over proceedings to determine the extent, validity, or priority of any
                  Lien asserted against property of the Diocese, the Estate, or Trust, or property
                  abandoned or transferred by the Diocese, the Estate, or the Trust;

                          (5)     over motions to approve Insurance Settlement Agreements entered
                  into after the Effective Date by the Trustee;

                         (6)     over matters related to the assets of the Estate or of the Trust,
                  including the terms of the Trust, or the recovery, liquidation, or abandonment of
                  Trust Assets;

                         (7)      the removal of the Trustee and the appointment of a successor
                  Trustee;

                           (8)    over matters relating to the subordination of Claims;

                         (9)     to enter and implement such orders as may be necessary or
                  appropriate in the event the Confirmation Order is for any reason stayed, revoked,
                  modified or vacated;

                          (10) to consider and approve modifications of or amendments to the Plan,
                  to cure any defects or omissions or to reconcile any inconsistencies in any order of
                  the Bankruptcy Court, including the Confirmation Order;

                          (11) to issue orders in aid of execution, implementation, or
                  consummation of the Plan, including the issuance of orders enforcing any and all
                  releases and injunctions issued under or pursuant to this Plan and any Diocesan
                  Insurance Settlement Agreement;

                         (12) over disputes arising from or relating to the Plan, the Confirmation
                  Order, or any agreements, documents, or instruments executed in connection
                  therewith;

                          (13) over requests for allowance of payment of Claims entitled to priority
                  under Sections 507(a)(2) and 503(b)(9) of the Bankruptcy Code and any objections
                  thereto;

                           (14)   over all Fee Applications;

                         (15) over matters concerning state, local, or federal taxes in accordance
                  with Sections 346, 505, and 1146 of the Bankruptcy Code;

                         (16) over conflicts and disputes among the Trust, the Reorganized
                  Debtor, and holders of Claims, including holders of Class 3 or Class 4 Claims;

                          (17) over disputes concerning the existence, nature, or scope of the
                  Diocese’s discharge, including any dispute relating to any liability arising out of
                  the termination of employment or the termination of any employee or retiree benefit

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                  program, regardless of whether such termination occurred prior to or after the
                  Effective Date;

                          (18) to issue injunctions, provide declaratory relief, or grant such other
                  legal or equitable relief as may be necessary or appropriate to restrain interference
                  with the Plan, the Diocese or its property, the Reorganized Debtor or its property,
                  the Estate or its property, the Trust or its property, Trustee, the Professionals, or the
                  Confirmation Order;

                           (19)   to enter a Final Decree closing the Chapter 11 case;

                           (20)   to enforce all orders previously entered by the Bankruptcy Court;
                  and

                          (21) over any and all other suits, adversary proceedings, motions,
                  applications, and contested matters that may be commenced or maintained pursuant
                  to this Chapter 11 case or the Plan.

                 (b)     By the District Court. Pursuant to Sections 105, 1123(a)(5), and 1142(b) of
         the Bankruptcy Code, and 28 U.S.C. Section 1334, on and after the Effective Date, the
         District Court shall retain original, but not exclusive, jurisdiction to hear and determine all
         matters arising under the Bankruptcy Code or arising in or related to this Chapter 11 case.

                (c)     Actions to Collect Amounts Owed Pursuant to the Plan. Notwithstanding
         anything to the contrary in this Section, the Diocese, the Reorganized Debtor and the
         Trustee may, but are not required to, commence an adversary proceeding to collect amounts
         owed pursuant to the Plan for any settlements embodied in the Plan or later approved by
         the Bankruptcy Court, which are not paid in accordance with this Plan. Any such action
         may be commenced by filing a motion in aid of confirmation with the Bankruptcy Court.

                 (d)    Case Closure. The existence and continued operation of the Trust shall not
         prevent the Bankruptcy Court from closing this Chapter 11 case. In an action involving the
         Trust, any costs incurred in reopening the Chapter 11 case, including any statutory fees will
         be paid by the Trustee from the Trust Assets in accordance with an order of the Bankruptcy
         Court.

        16.2 ASSUMPTION OF EXECUTORY CONTRACTS. On the Effective Date,
except for any executory contract: (i) that was previously rejected by an order of the Bankruptcy
Court or otherwise pursuant to Section 365 of the Bankruptcy Code; or (ii) that is subject to a
pending motion to reject before the Bankruptcy Court, and except as otherwise provided in the
Plan, Confirmation Order, or Insurance Settlement Agreements, each executory contract entered
into by the Debtor prior to the Petition Date that has not previously expired or terminated pursuant
to its own terms, shall be assumed pursuant to Sections 365 and 1123 of the Bankruptcy Code,
effective as of the Confirmation Date. The Confirmation Order shall constitute an order of the
Bankruptcy Court approving such assumption pursuant to Sections 365 and 1123 of the
Bankruptcy Code as of the Effective Date. Any cure payment shall be promptly paid by the
Reorganized Debtor.


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        16.3 INDEMNIFICATION OF MEMBERS, MANAGERS, OFFICERS, AND
EMPLOYEES. The obligation of the Diocese to indemnify any individual serving at any time on
or prior to the Effective Date, as one of its officers, employees, council members, or volunteers by
reason of such individual’s service in such capacity, to the extent provided in any of the Diocese’s
constituent documents or by a written agreement with the Debtor or under the laws of the State of
Minnesota pertaining to the Diocese, will be deemed and treated as Executory Contracts that are
assumed by the Reorganized Debtor, pursuant to the Plan and Bankruptcy Code Section 365 as of
the Effective Date. Notwithstanding the foregoing, under no circumstances will the Diocese, the
Trust, or the Reorganized Debtor assume or be responsible for any alleged indemnification of any
Person against whom the Diocese has determined or may, in the future, determine, that there are
credible allegations of Abuse asserted against such Person or such Person has or may have engaged
in some other conduct that would excuse the Reorganized Debtor from providing any
indemnification to such Person.

        16.4 LEASE CLAIM INDEMNITY. The Reorganized Debtor will fully indemnify the
Debtor’s estate, and any successor to the Debtor’s estate, including but not limited to any trust
formed for the benefit of creditors, from and for any Claim(s) arising out of the breach of the Lease
asserted after confirmation, regardless of whether such Claim(s) arise(s) before or after the
confirmation of a plan by the Debtor.

         16.5 DEFENSE AND INDEMNITY FOR COVERED NON-TORT CLAIMS. After
the Effective Date, the Reorganized Debtor will defend and indemnify any Catholic Entity or Other
Insured Entity with respect to any Covered Non-Tort Claim and will defend and indemnify the
Settling Insurer Entities with respect to all Channeled Claims that are not Tort Claims, Related
Insurance Claims, or Medicare Claims. As to any Claim against the Trust that qualifies as a
Covered Non-Tort Claim, the Reorganized Debtor will also undertake on behalf of the Trust the
enforcement of the injunctions set forth in Articles VII and XIII, will defend the Covered Non-
Tort Claim, and, if judgment is entered on such Claim, will indemnify the Trust for any liability
for such Claim. The Reorganized Debtor may not seek insurance coverage for the Claims defended
or indemnified under this Section from the Settling Insurer Entities under any Settling Insurer
Entity Policy. Nothing in this provision or any other Plan provision is intended to suggest that any
Person is entitled to obtain a judgment on a Covered Non-Tort Claim or other Channeled Claim,
that such judgment would be covered under any Settling Insurer Entity Policy, or that any Person
is entitled to seek coverage for such judgment against any Protected Party or Settling Insurer Entity
in violation of the Discharge, Channeling Injunction, or Supplemental Settling Insurer Injunction.
For the avoidance of doubt, nothing contained in this Section or the Plan is intended to provide,
expand, modify or add coverage for the Diocese or any other Protected Party under any Diocesan
Insurance Policy to cover the Diocese’s indemnification of any Covered Non-Tort Claims.

        16.6 RESERVATION OF RIGHTS. In accordance with the provisions of this Plan, the
Diocese reserves the right to sell property of the Estate or compromise Causes of Action on behalf
of the Estate at any time prior to the Effective Date, subject to Bankruptcy Court approval. Notice
of any such sale or compromise sought as part of the Plan shall be filed as a Supplemental Plan
Document, and approval of such sale or settlement shall be considered at the confirmation hearing
or as soon thereafter as is practicable.



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        16.7 NON-APPEALABLE ORDER. Except as otherwise expressly provided in the
Plan, any requirement in the Plan for a Non-Appealable Order may be jointly waived by the Plan
Proponents upon written notice to the Bankruptcy Court provided that Plan Proponents first obtain
the consent of all Diocesan Settling Insurers.

        16.8 AMENDMENTS AND MODIFICATIONS. The Plan Proponents may jointly
modify the Plan at any time prior to the confirmation hearing in accordance with Section 1127(a)
of the Bankruptcy Code. After the Confirmation Date and prior to substantial consummation, the
Plan Proponents may jointly modify the Plan in accordance with Section 1127(b) of the
Bankruptcy Code by filing a motion on notice as required under the applicable Bankruptcy Rules,
and the solicitation of all creditors and other parties in interest shall not be required unless directed
by the Bankruptcy Court. Notwithstanding any provision of this Plan to the contrary, the provisions
of Article VII and Sections 13.2 through 13.4 are intended to be an integrated set of provisions
that implement and supplement the Insurance Settlement Agreements that may not be severed,
waived, amended, deleted, or otherwise modified without the prior written approval of all of the
Settling Insurers affected by such severance, waiver, amendment, deletion, or modification.

       16.9 U.S. TRUSTEE REPORTS. From the Effective Date until the case is closed, the
Reorganized Debtor shall, within thirty (30) days of the end of each fiscal quarter, file with the
Bankruptcy Court and submit to the U.S. Trustee, quarterly reports setting forth all receipts and
disbursements as required by the U.S. Trustee guidelines. The Reorganized Debtor will not be
required to file monthly operating reports or provide copies of bank account statements.

        16.10 NO WAIVER. The failure of the Diocese to object to any Claim for purposes of
voting shall not be deemed a waiver of the Diocese’s, the Reorganized Debtor’s, or the Trustee’s
right to object to such Claim, in whole or in part.

        16.11 TAX EXEMPTION. Pursuant to Section 1146 of the Bankruptcy Code, the
delivery or recording of an instrument of transfer on or after the Confirmation Date shall be deemed
to be made pursuant to and under the Plan, including any such acts by the Diocese (if prior to the
Effective Date), and the Reorganized Debtor (if on or after the Effective Date), including any
subsequent transfers of property by the Reorganized Debtor, and shall not be taxed under any law
imposing a stamp tax, transfer tax, state deed tax, or similar tax or fee. Consistent with the
foregoing, each recorder of deeds or similar official for any county, city, or governmental unit in
which any instrument hereunder is to be recorded shall, pursuant to the Confirmation Order and
the Plan, be ordered and directed to accept such instrument, without requiring the payment of any
documentary stamp, tax, deed stamps, stamp tax, transfer tax, intangible tax, or similar tax.

        16.12 NON-SEVERABILITY. Except as specifically provided herein, the terms of the
Plan constitute interrelated compromises and are not severable, and no provision of the Plan may
be stricken, altered, or invalidated, except by amendment of the Plan by the Plan Proponents.

        16.13 REVOCATION. The Plan Proponents reserve the right to revoke and withdraw
the Plan prior to the Confirmation Date.

       16.14 CONTROLLING DOCUMENTS. In the event and to the extent that any
provision of the Plan or Trust Agreement is inconsistent with any provision of the disclosure


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statement, the provisions of the Plan or Trust Agreement, as applicable, shall control and take
precedence. In the event and to the extent that any provision of the Trust Agreement (other than
provisions relating to the Trustee’s authority to act) is inconsistent with any provision of this Plan,
this Plan shall control and take precedence. In the event and to the extent that any provision of the
Confirmation Order is inconsistent with any provision of the Plan or the Trust Agreement, the
provisions of the Confirmation Order shall control and take precedence.

        16.15 GOVERNING LAW. Except to the extent a rule of law or procedure is supplied
by federal law (including the Bankruptcy Code and the Federal Rules of Bankruptcy Procedure),
and unless specifically stated, the rights, duties, and obligations arising under the Plan, any
agreements, documents, and instruments executed in connection with the Plan (except as otherwise
set forth in those agreements, in which case the governing law of such agreements shall control)
shall be governed by, and construed and enforced in accordance with, the laws of the State of
Minnesota, without giving effect to conflicts of law principles.

       16.16 NOTICES. Any notices or requests by parties in interest under or in connection
with the Plan shall be in writing and served either by: (i) certified mail, return receipt requested,
postage prepaid, (ii) hand delivery, or (iii) reputable overnight delivery service, all charges prepaid,
and shall be deemed to have been given when received by the following parties:

         If to the Diocese or the Reorganized Debtor:

                                          Father James Bissonette
                                          Vicar General
                                          Diocese of Duluth
                                          2830 E. Fourth Street
                                          Duluth, MN 55812
                                          Telephone No.: 218-724-9111
                                          Facsimile No.: 218-724-1056

                  with a copy to:         Phillip Kunkel
                                          Gray Plant Mooty
                                          1010 West Street Germain
                                          Suite 600
                                          St Cloud, MN 56301
                                          320-252-4414
                                          Fax : 320-252-4482

                  If to the Trust or the Trustee:

                                          DW Harrow & Assoc., LLC
                                          1880 State Highway 309
                                          Kerens, Texas 75144

       16.17 FILING OF ADDITIONAL DOCUMENTS. At any time before substantial
consummation, the Diocese, the Trust, or the Reorganized Debtor, as appropriate, may file with
the Bankruptcy Court or execute, as appropriate, such agreements and other documents as may be


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necessary or appropriate to effectuate and further evidence the terms and conditions of the Plan,
or otherwise to comply with applicable law.

       16.18 POWERS OF OFFICERS. The officers of the Diocese or the Reorganized
Debtor, as the case may be, shall have the power to enter into or execute any documents or
agreements that they deem reasonable and appropriate to effectuate the terms of the Plan.

        16.19 DIRECTION TO A PARTY. On and after the Effective Date, the Trust or the
Reorganized Debtor, as applicable, may apply to the Bankruptcy Court for entry of an order
directing any Person to execute or deliver or to join in the execution or delivery of any instrument
or document reasonably necessary or reasonably appropriate to effect a transfer of properties dealt
with by the Plan, and to perform any other act (including satisfaction of any lien or security
interest) that is reasonably necessary or reasonably appropriate for the consummation of the Plan.

        16.20 SUCCESSORS AND ASSIGNS. The Plan shall be binding upon and inure to the
benefit of the Diocese and its successors and assigns, including the Reorganized Debtor. The
rights, benefits, and obligations of any entity named or referred to in the Plan shall be binding on,
and shall inure to the benefit of, any heir, executor, administrator successor, or assign of such
entity.

        16.21 CERTAIN ACTIONS. By reason of entry of the Confirmation Order, prior to, on
or after the Effective Date (as appropriate), all matters provided for under the Plan that would
otherwise require approval of the officers of the Diocese under the Plan, including: (a) the
adoption, execution, delivery, and implementation of all contracts, leases, instruments, releases,
and other agreements or documents related to the Plan, and (b) the adoption, execution, and
implementation of other matters provided for under the Plan involving the Diocese or
organizational structure of the Diocese shall be deemed to have occurred and shall be in effect
prior to, on or after the Effective Date (as appropriate), pursuant applicable non-bankruptcy law,
without any requirement of further action by the officers of the Diocese.

        16.22 FINAL DECREE. Once the Estate has been fully administered, as referred to in
Bankruptcy Rule 3022, the Reorganized Debtor, Trustee or such other party as the Bankruptcy
Court may designate in the Confirmation Order, shall file a motion with the Bankruptcy Court to
obtain a Final Decree to close the Chapter 11 case.

        16.23 PLAN AS SETTLEMENT COMMUNICATION. The Plan furnishes or offers
or promises to furnish (or accepts or offers or promises to accept) valuable consideration in
compromising or attempting to compromise Claims and Causes of Action that are Disputed as to
validity or amount (including Tort Claims and the Insurance Litigation), except as otherwise
provided above. Accordingly, the Plan, the disclosure statement, and any communications
regarding the Plan or the disclosure statement are subject in all respects to Federal Rule of
Evidence 408 and any comparable provision(s) of applicable state law precluding their use as
evidence of liability for, or the validity or invalidity of, any Disputed Claim or Cause of Action.
Nothing herein or in any Confirmed Plan is intended to constitute a compromise of Tort Claims.

        16.24 OTHER RIGHTS. Except as expressly set forth in this Plan, nothing in the Plan
shall preclude any Person from asserting in any proceeding, or against any award or judgment


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entered in such proceeding, any and all rights that may be accorded under Minnesota law, or any
other applicable statutory or common law, of contribution, indemnity, reduction, credit, or setoff,
arising from the settlement and resolution of the Tort Claims.

                                       ARTICLE XVII
                                BANKRUPTCY RULE 9019 REQUEST

      Pursuant to Bankruptcy Rule 9019 and through the Plan, the Plan Proponents request
approval of all compromises and settlements included in the Plan.

                                       ARTICLE XVIII
                                   CONFIRMATION REQUEST

         The Plan Proponents request confirmation of the Plan under Section 1129 of the
Bankruptcy Code with respect to any impaired class that does not accept the Plan or is deemed to
reject the Plan.




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                        [Signature page for Plan of Reorganization]


                                         Respectfully submitted,


                                         THE OFFICIAL COMMITTEE OF UNSECURED
                                         CREDITORS



                                         William Weis
                                         Its: Chairperson

                                         and

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